 Case 8:23-bk-10571-SC       Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24      Desc
                              Main Document    Page 1 of 44



1 Christopher B. Ghio (State Bar No. 259094)
  Christopher Celentino (State Bar No. 131688)
2 Yosina M. Lissebeck (State Bar No. 201654)
  Jeremy B. Freedman (State Bar No. 308752)
3 DINSMORE & SHOHL LLP
  655 West Broadway, Suite 800
4 San Diego, CA 92101
  Telephone: 619.400.0500
5 Facsimile: 619.400.0501
  christopher.ghio@dinsmore.com
6 christopher.celentino@dinsmore.com
  yosina.lissebeck@dinsmore.com
7 jeremy.freedman@dinsmore.com

8 Special Counsel to Richard A. Marshack

9

10
                             UNITED STATES BANKRUPTCY COURT
11
                    CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
12

13                                               Case No.: 8:23-bk-10571-SC
     In re:
14                                               Chapter 11
     THE LITIGATION PRACTICE GROUP P.C.,
15                                               NOTICE OF MOTION AND MOTION OF
              Debtor.                            TRUSTEE RICHARD A. MARSHACK
16                                               FOR ENTRY OF AN ORDER (A)
                                                 APPROVING SALE, SUBJECT TO
17                                               OVERBID, OF ASSETS FREE AND
                                                 CLEAR OF ALL LIENS, CLAIMS,
18                                               ENCUMBRANCES AND INTERESTS
                                                 PURSUANT TO 11 U.S.C. § 363(b) AND
19                                               (B) APPROVING ASSUMPTION AND
                                                 ASSIGNMENT OF CERTAIN
20                                               EXECUTORY CONTRACTS AND
                                                 UNEXPIRED LEASES AND OTHER
21                                               AGREEMENTS

22                                               Date:    [To be set]
                                                 Time:    [To be set]
23                                               Judge:   Hon. Scott C. Clarkson
                                                 Place:   Courtroom 5C
24                                                        411 W. Fourth Street
                                                          Santa Ana, CA 92701
25

26

27

28

     DMWEST #16291513 v4
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                   Main Document    Page 2 of 44



 1 TO THE COURT, THE OFFICE OF THE UNITED STATES TRUSTEE, CREDITORS AND

 2 OTHER PARTIES-IN-INTEREST:

 3            PLEASE TAKE NOTICE, that on July 14, 2023 at 2:00 p.m., or as soon thereafter as is

 4 convenient to the Bankruptcy Court, located in Department 5C, 411 W. Fourth Street, Santa Ana,

 5 California 92701, Richard A. Marshack, solely in his capacity as the Chapter 11 Trustee of Litigation

 6 Practice Group, P.C. (the "Trustee") appointed in the above-entitled Chapter 11 bankruptcy case (the

 7 "Case") of Debtor, Litigation Practice Group, P.C. (the "Debtor"), will and hereby does move the

 8 Bankruptcy Court, pursuant to this motion (the "Motion") for entry of an order (the "Sale Order”)

 9 approving the sale, subject to overbid, of certain assets of the Debtor and the assumption and assignment

10 of certain executory contracts and unexpired leases and other agreements, including those consumer

11 customer contracts, (collectively “Contracts”) to Consumer Legal Group, P.C. (“Good Faith Purchaser”).

12 Together the Contracts and the identified assets are referred to herein as the “Assets” as set forth in the

13 proposed Asset Purchase Agreement (“APA”) attached as Exhibit 1 to the Declaration of Trustee. The

14 Sale Order and APA would provide for the sale of the Assets to a purchaser free and clear of all liens,

15 claims, encumbrances and interests pursuant to the terms of a to be executed APA. Furthermore, the Sale

16 Order and APA require that the Contracts, upon assignment to the Good Faith Purchaser will be

17 reformed: (i) to comply with applicable law; (b) to require performance in accordance with applicable

18 law; and (iii) to permit consumer consent to the transfer of the contract to the Purchaser and counsel in

19 accordance with California Model Rule 1.17 and/or comparable state ethics provision. Trustee’s Motion

20 is made pursuant to 11 U.S.C. §§ 105 and 363, Federal Rules of Bankruptcy Procedure, Rule 6004.

21 IF ANY PARTY WISHES TO OVERBID, THEY MUST:

22       1)     CONTACT THE TRUSTEE’S SPECIAL COUNSEL USING HIS EMAIL ADDRESS:
                CHRISTOPHER.GHIO@DINSMORE.COM OR HIS PHONE NUMBER AT (619) 400-
23              0468 PRIOR TO 5:00 P.M. PST AT LEAST 4 COURT DAYS PRIOR TO THE HEARING
                (“OVERBID DEADLINE”).
24
         2)     A GOOD FAITH DEPOSIT OF $1,000,000.00, CASHIERS CHECK PAYABLE TO
25              RICHARD M. MARSHACK, CHAPTER 11 TRUSTEE, IS REQUIRED TO BE PROVIDED
                TO THE TRUSTEE BY THE OVERBID DEADLINE.
26
         3)     THE TOTAL PURCHASE PRICE FOR THIS SALE IS MADE UP OF AN INITIAL
27              DEPOSIT, A SECOND DEPOSIT, AND A PERCENTAGE TO THE ESTATE DERIVED
                FROM A FEE. THESE BOLD TERMS ARE ALL DEFINED AND SET FORTH IN THE
28              APA AND MUST BE REVIEWED AND ACCEPTED BY ANY PARTY SEEKING TO
                OVERBID. THE TOTAL AMOUNT OF THE SALE WILL BE APPROXIMATELY
     DMWEST #16291513 v4                             1
     Case 8:23-bk-10571-SC          Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                 Desc
                                     Main Document    Page 3 of 44



 1              $42,000,000.00. TO OVERBID A PARTY MUST ACCEPT THE APA TERMS. HOWEVER
                TO PROVIDE FOR AN OVERBID AUCTION, THE AMOUNT OF THE SECOND
 2              DEPOSIT WILL BE ADJUSTED. THUS, INITIAL OVERBID WILL BE A SECOND
                DEPOSIT OF $7,500,000.00 WITH BIDING INCREMENTS OF $500,000.
 3
         4)     BY THE OVERBID DEADLINE THE PARTY MUST ALSO EXECUTE A LETTER OF
 4              INTENT TO ENTER INTO A SIMILAR APA, BUT FOR THE PRICE ADJUSTMENT OF
                THE SECOND DEPOSIT AMOUNT, AND PROVIDE WRITTEN PROOF OF FINANCIAL
 5              ABILITY TO PERFORM.

 6        In his sole discretion, the Trustee may waive the deadline for submission of overbids. The
   acceptance of any overbid from a qualified bidder will be in the Trustee’s sole discretion and may be
 7 made prior to or at the time of hearing to confirm the sale.

 8         If qualified overbids are received and accepted by the Trustee, an auction will be held at the time
   of the hearing on the motion for approval of sale. At the conclusion of the auction, the Trustee will have
 9 the right, based solely on his business judgment and sole discretion, to recommend to the Court for
   confirmation the offer that the Trustee determines is the best overall offer.
10
           Upon completion of the hearing, the sale will close as set forth in the APA. In the event any given
11 prospective  bidder is not the successful bidder, nor a back-up bidder, their deposit, shall be returned as
   soon as possible after the conclusion of the hearing. The Deposit of the successful bidder shall be
12 controlled by the terms of the APA.

13         In the event the successful bidder doesn’t perform, Trustee will accept the bid which constitutes,
   in his business judgment, the highest and best offer for the benefit of the bankruptcy estate and its
14 creditors. Unless otherwise specified by each bidder, all bids shall be deemed to be on terms and
   conditions not less favorable to the bankruptcy estate than the terms and conditions to which the Buyer
15 has agreed to purchase the Property as set forth in the Trustee’s sale motion.

16 SOLICITATION OF OTHER OFFERS

17            As part of Trustee’s continuing obligation to market the asset, he remains open to any other offers
18 and proposals that may not have identical formats. Any offer or proposal, including any cash offer, will

19 be evaluated and compared to the existing offers. Besides the APA with the Good Faith Purchase, the

20 Trustee currently has one other proposal and one other asset purchase agreement in hand. Any party

21 wishing to provide an offer can do so by providing it to Trustee counsel’s email

22 christopher.ghio@dinsmore.com or contact Mr. Ghio at (619) 400-0468. If the Trustee believes any

23 such offer, in his sole business judgment and discretion are reasonable, the Trustee will provide the court

24 with information related to the agreement and copies as part of his Declaration.

25            This Motion is based upon this notice; the accompanying Memorandum of Points and authorities;
26 the attached Declaration of Richard Marshack and attached exhibits; the separate Declaration of Attorney

27 Jason J. Rebhun of Consumer Legal Group, P.C.; the separate Declaration of Attorney Reed Pruyn; the
28 separate Declaration of Attorney Peter Schneider; the separate Declaration of Attorney William “Ty”


     DMWEST #16291513 v4                               2
     Case 8:23-bk-10571-SC       Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24               Desc
                                  Main Document    Page 4 of 44



 1 Carss; and the separate Declaration of Christopher Ghio Special Counsel for the Trustee, submitted

 2 herewith; Trustee’s Notice of Sale; Trustee’s Notice of Motion and Motion for Order Approving

 3 Stipulation re Partial Settlement of Claims and Modification of Order on Trustee, Richard Marshack’s

 4 Omnibus Emergency Motion As Covered Parties and Defendants Consumer Legal Group, P.C. and LGS

 5 Holdco, LLC (“CLG 9019 Motion”) Adversary Proceeding No. 8:23-ap-01046-SC (“1046 Action”)

 6 [Main Case Docket No. 178]; Stipulation for Judgment (1) Avoiding, Recovering, And Preserving

 7 Transfers to Defendant Phoenix Law Group, Inc. (“Phoenix Stip”), (1046 Action, Docket No. 77); all

 8 pleadings and papers on file in this action relating to the Emergency Motion filed and heard May 25,

 9 2023; and upon such other matters as may be presented to the Court prior to or at the time of hearing.1

10

11 Dated: July 7, 2023                           Respectfully submitted,

12                                               DINSMORE & SHOHL LLP

13
                                                 By: /s/ Christopher B. Ghio
14                                                  Christopher B. Ghio
                                                    Christopher Celentino
15                                                  Yosina M. Lissebeck
                                                    Jeremy Freedman
16                                                  Special Counsel to Richard A. Marshack, Chapter 11
                                                    Trustee
17

18

19

20

21

22

23

24

25

26
     1
27   Given the exigent circumstances, substantial amount of information and evidence and limited time to
   review and analyze same prior to Trustee and the Estate running out of financing, Trustee hereby reserves
28 his right to submit supplemental declarations, including not limited to expert declarations in support of
   the instant sale motion.

     DMWEST #16291513 v4                            3
     Case 8:23-bk-10571-SC                      Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                                 Desc
                                                 Main Document    Page 5 of 44



 1
                                                              TABLE OF CONTENTS
 2
      I. INTRODUCTION .................................................................................................................................1
 3
      II. JURISDICTION ...................................................................................................................................2
 4
      III. RELEVANT FACTUAL BACKGROUND ......................................................................................3
 5
                A.         Procedural History ............................................................................................................3
 6
                B.         LPG’S Fraudulent Transfer of Consumer Clients And Avoidance Thereof.....................5
 7
                C.         Procedural Grounds Supporting Sale of Debtor’s Assets .................................................6
 8
      IV. TRUSTEE MADE A REASONABLE GOOD FAITH EFFORT TO MAXIMIZE THE
 9          PROTECTIONS TO THE CONSUMER AND BENEFIT TO THE ESTATE AND ALL
            CREDITORS ................................................................................................................................9
10
                A.         The Trustee’s Proposed Good Faith Purchaser - Consumer Legal Group, PC .................9
11
      V. THE PROPOSED SALE TO GOOD FAITH PURCHASER ...........................................................11
12
                A.         Summary of Proposed Asset Purchase Agreement (APA) .............................................11
13
                B.         Rejection and Termination of Employees.......................................................................15
14
                C.         Transfer to Legal Service Agreements ...........................................................................16
15
                D.         The 90 Day Notice Period Provides Consumers to Opt Out of Any Sale and
16                         Assignment Pursuant to California Model Rule 1.17. ....................................................16
17              E.         Reformation of Legal Services Agreement and Compliance with Consumer Protection
                           Laws. ...............................................................................................................................17
18
                F.         Trustee’s Proposed Court Appointed Monitor to Ensure Compliance with Consumer
19                         Protection Laws. .............................................................................................................17
20 VI. THE COURT SHOULD GRANT THE TRUSTEE’S SALE MOTION FOR THE BENEFIT OF
         THE CONSUMER CLIENTS, ESTATE AND CREDITORS ..................................................18
21
         A.   The Court is Authorized to Issue an Order Approving the Sale of Debtor’s Assets and
22            Procedures Related Thereto. ...........................................................................................18
23              B.         The Sale Should Be Approved To Protect the Interests of Consumer Clients Based on
                           The Trustee’s Reasoned Business Judgment and Extraordinary Protections Built in to
24                         The Proposed Sale of Debtor’s Assets and The Assignment of Executory Contracts....20
25              C.         The Assumption and Assignment of Executory Contracts Should Be Approved. .........28
26              D.         Relief Under Bankruptcy Rules 6004(h) and 6006(d) Is Appropriate. ...........................29
27 VII. CONCLUSION ...............................................................................................................................29
28


      DMWEST #16291513 v4                                                     i
     Case 8:23-bk-10571-SC                    Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                         Desc
                                               Main Document    Page 6 of 44



 1                                                      TABLE OF AUTHORITIES
 2                                                                                                                                             Page
 3 Cases

 4 Bank of Am. Nat’l Trust & Sav. Ass’n. v. 203 N. LaSalle St. P’ship
     526 U.S. 434 (1999) ........................................................................................................................... 22
 5
   Comm. Of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.)
 6   722 F.2d 1063 (2d Cir. 1983) ............................................................................................................. 20
 7 Committee of Subordinated Bondholders v. Integrated Resources, Inc. (Integrated Res.)
      147 B.R. 650 (S.D.N.Y. 1992)............................................................................................................ 19
 8
   In re Abbotts Dairies of Pa., Inc.
 9    788 F.2d 143 (3d Cir. 1986) ............................................................................................................... 23
10 In re Adams Res. Expl. Corp.
       No. 17-10866 (KG), 2017 WL 5484017 (Bankr. D. Del. Sept. 20, 2017) ........................................ 19
11
   In re Alaska Fishing Adventure, LLC
12    594 B.R. 883 (Bankr. D. Alaska 2018) .............................................................................................. 19
13 In re Bakalis
      220 B.R. 525 (Bankr. E.D.N.Y. 1998)................................................................................................ 19
14
   In re Boy Scouts of Am.
15    642 BR 504 (Bankr. D. Del. 2022) ..................................................................................................... 28
16 In re Delaware & Hudson Ry. Co.
      124 B.R. 169 (D. Del. 1991) ............................................................................................................... 18
17
   In re Edwards
18     228 B.R. 552 (Bankr. E.D. Pa. 1998) ................................................................................................ 19
19 In re Filene's Basement, LLC
      11-13511 (KJC), 2014 WL 1713416 (Bankr. D. Del. Apr. 29, 2014) ................................................ 20
20
   In re Food Barn Stores, Inc.
21    107 F.3d 558 (8th Cir. 1997) .............................................................................................................. 19
22 In re Hertz
      536 B.R. 434 (Bankr. C.D. Cal. 2015)................................................................................................ 28
23
   In re Industrial Valley Refrigeration and Air Conditioning Supplies, Inc.
24    77 B.R. 15 (Bankr. E.D. Pa. 1987) ..................................................................................................... 18
25 In re JL Building, LLC
      452 B.R. 854 (Bankr. D. Utah 2011) .................................................................................................. 19
26
   In re Johns-Manville Corp.
27    60 B.R. 612 (Bankr. S.D.N.Y. 1986) .................................................................................................. 20
28 In re Kellstrom Indus., Inc.
      282 B.R. 787 (Bankr. D. Del. 2002) ................................................................................................... 27
      DMWEST #16291513 v4                                                ii
     Case 8:23-bk-10571-SC                     Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                         Desc
                                                Main Document    Page 7 of 44



 1 In re Martin
      91 F.3d 389 (3d. Cir. 1996) ................................................................................................................ 20
 2
   In re Mushroom Transp. Co.
 3    382 F.3d 325 (3d Cir. 2004) ............................................................................................................... 19

 4 In re PGX Holding, Inc. (In re PGX)
      Case No. 23-10718-CTG (D. Del. 2023) ............................................................................................ 21
 5
   In re Psychrometric Sys.
 6    367 B.R. 670 (Bankr. D. Colo. 2007) ................................................................................................. 19

 7 In re Quintex Entertainment, Inc.
      950 F.2d 1492 (9th Cir. 1991) ............................................................................................................ 18
 8
   In re S.N.A. Nut Co.
 9    186 B.R. 98 (Bankr. N.D. Ill 1995) .................................................................................................... 20

10 In re Sasson Jeans, Inc.
      90 B.R. 608 (S.D.N.Y. 1988).............................................................................................................. 24
11
   In re Schipper
12     933 F.2d 513 (7th Cir. 1991) ............................................................................................................. 20

13 In re Stroud Ford, Inc.
      163 B.R. 730 (Bankr. M.D. Pa. 1993) ................................................................................................ 18
14
   In re Tabone, Inc.
15    175 B.R. 855 (Bankr. D.N.J. 1994) .................................................................................................... 28

16 In re Telesphere Commc’s, Inc.
      179 B.R. 544 (Bankr. N.D. Ill. 1999) ................................................................................................. 20
17
   In re Titusville Country Club
18    128 B.R. 396 (Bankr. W.D. Pa. 1991) ................................................................................................ 18

19 In re Trans World Airlines, Inc.
      No. 01-00056, 2001 WL 1820326 (Bankr. D. Del. 2001) .................................................................. 22
20
   In re WBQ P'ship
21    189 B.R. 97 (Bankr. E.D. Va. 1995) ................................................................................................... 19

22 In the Matter of Andy Frain Servs., Inc.
      798 F.2d 1113 (7th Cir. 1986) ............................................................................................................ 24
23
   Institutional Creditors of Continental Air Lines, Inc. v. Continental Air Lines, Inc. (In re Continental
24    Air Lines, Inc.)
      780 F.2d 1223 (5th Cir. 1986) ............................................................................................................ 19
25
   Lubrizol Enters. Inc. v. Richmond Metal Finishers, Inc. (In re Richmond Metal Finishers, Inc.)
26    759 F.2d 1043 (4th Cir. 1985) ............................................................................................................ 28

27 NLRB v. Bildisco
     465 U.S. 513 (1984) ............................................................................................................................ 28
28
   Orion Pictures v. Showtime Networks Inc. (In re Orion Pictures Corp.)
     4 F.3d 1095 (2d Cir. 1993) ................................................................................................................. 28
   DMWEST #16291513 v4                                          iii
     Case 8:23-bk-10571-SC                       Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                            Desc
                                                  Main Document    Page 8 of 44



 1 Pelican Homestead v. Wooten (In re Gabel)
     61 B.R. 661 (Bankr. W.D. La. 1985) .................................................................................................. 28
 2
   Stephens Indus. Inc. v. McClung
 3   789 F.2d 386 (6th Cir. 1986) .............................................................................................................. 19

 4 Walter v. Sunwest Bank (In re Walter)
      83 B.R. 14 (B.A.P. 9th Cir. 1988) ..................................................................................................... 19
 5
   Statutes
 6
   11 U.S.C. § 105 ....................................................................................................................................... 18
 7
   11 U.S.C. § 105(a) .................................................................................................................................... 2
 8
   11 U.S.C. § 363 ............................................................................................................................. 2, 20, 23
 9
   11 U.S.C. § 363(b) .................................................................................................................. 8, 18, 19, 20
10
   11 U.S.C. § 363(f) ....................................................................................................................... 24, 25, 27
11
   11 U.S.C. § 365 ......................................................................................................................................... 2
12
   11 U.S.C. § 365(a) .................................................................................................................................. 28
13
   11 U.S.C. § 503 ......................................................................................................................................... 2
14
   11 U.S.C. § 507 ......................................................................................................................................... 2
15
   11 U.S.C. § 544(b) .................................................................................................................................... 6
16
   11 U.S.C. § 547 ......................................................................................................................................... 6
17
   11 U.S.C. § 548 ......................................................................................................................................... 6
18
   11 U.S.C. § 550 ......................................................................................................................................... 6
19
   11 U.S.C. § 551 ......................................................................................................................................... 6
20
   28 U.S.C. § 1334 ....................................................................................................................................... 2
21
   28 U.S.C. § 1408 ....................................................................................................................................... 2
22
   28 U.S.C. § 1409 ....................................................................................................................................... 2
23
   28 U.S.C. § 157 ......................................................................................................................................... 2
24
   28 U.S.C. §57(b)(2) .................................................................................................................................. 2
25
   Cal. Civ. Code § 3439.04(a) ..................................................................................................................... 6
26
   Cal. Civ. Code § 3439.07 .......................................................................................................................... 6
27
   Credit Repair Organizations Act, 15 U.S.C. § 1679 ......................................................................... 18, 24
28


      DMWEST #16291513 v4                                                   iv
     Case 8:23-bk-10571-SC                      Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                          Desc
                                                 Main Document    Page 9 of 44



 1 Rules

 2 Cal. Model R. 1.17 ........................................................................................................ 6, 8, 16, 17, 28, 29

 3 Cal. Model R. 1.17(b)(1)......................................................................................................................... 16

 4 Fed. R. Bankr. P. 2002 .............................................................................................................................. 2

 5 Fed. R. Bankr. P. 6004 .............................................................................................................................. 2

 6 Fed. R. Bankr. P. 6004(h) ....................................................................................................................... 29

 7 Fed. R. Bankr. P. 6006 .............................................................................................................................. 2

 8 Fed. R. Bankr. P. 6006(d) ....................................................................................................................... 29

 9 Fed. R. Bankr. P. 9006 .............................................................................................................................. 2

10 Fed. R. Bankr. P. 9007 .............................................................................................................................. 2

11 Fed. R. Bankr. P. 9014 .............................................................................................................................. 2

12 Telemarketing Sales Rule
     16 C.F.R. Part 310 .............................................................................................................. 2, 18, 21, 24
13
   Treatises
14
   Report of Consumer Privacy Ombudsman
15   Alan Chapell at 27, In re General Motors Corp., et al, Case No. 09-50026 (2011) ............................. 9

16 Regulations

17 California’s Rosenthal Fair Debt Collection Practices Act ...................................................................... 4

18 Fair Debt Collection Practices Act ............................................................................................... 4, 10, 18

19 Telephone Consumer Protection Act
     47 U.S.C. § 227 (TCPA) ....................................................................................................................... 2
20

21

22

23

24

25

26

27
28


      DMWEST #16291513 v4                                                  v
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                 Desc
                                  Main Document     Page 10 of 44



 1                                                        I.

 2                                              INTRODUCTION

 3           Chapter 11 Trustee, Richard Marshack (“Trustee”) for the estate of The Litigation Practice Group,

 4 P.C. (“LPG” or “Debtor”) is “not here to curse the darkness, but to light the candle that can guide us

 5 through that darkness to a safe and sane future. As Winston Churchill said on taking office some twenty

 6 years ago: if we open a quarrel between the present and the past, we shall be in danger of losing the future."

 7 (See "Acceptance Speech of Senator Kennedy, Democratic National Convention, 15 July 1960." JFK

 8 Library, Senate Files, Box 910.) With over 20,000 consumer clients and their future and financial

 9 wellbeing hanging in the balance, the Court should not determine their fate based on the prior bad acts
10 and financial mismanagement of the former insiders, but based on the details of the proposed sale that the

11 Trustee has worked diligently to form and propose for approval. A future, clients of the Litigation Practice

12 Group (“Debtor” or “LPG”) sought to better which has now, at present, been placed in the hands of the

13 Trustee, the Office of the United States Trustee (“UST”) and this Court.

14           The Trustee, UST, and this Court have taken great efforts to protect the interests of Debtor’s

15 consumer clients so they are not thrown “out on the street” and subject to further predatory practices,

16 unfair and deceptive debt collection efforts designed to take advantage of their financial despair. While

17 the proposed Sale Order of Debtor’s Assets to the Good Faith Purchaser differs from the course of action

18 proposed by the UST, the Trustee’s intended goal is nonetheless the same – provide a reasonable plan of
19 action that minimizes or eliminates the impact and any potential harm to consumer clients and their future.

20           To that end, Trustee has diligently and thoughtfully sought and considered potential purchasers of

21 assets requiring that any such purchaser not only be compliant with applicable rules and regulations, but

22 also agree to additional provisions to protect consumers, ensure compliance with applicable laws and

23 enforce such protections through additional oversight and monitoring. Law firms providing legal services

24 related to debt have existed as long as creditors have sought to collect on debts and is not a new illegal

25 cottage industry. Moreover, legal service payment plans have also existed and operated legally within the

26 United States prior to this matter. The Prior practices of the Debtor’s former insiders, including but not

27 limited to Tony Diab, should not and cannot be the basis for finding every law firm operating in the

28 consumer debt space is operating illegally or is incapable of operating legally. To wit, the proposed Good


     DMWEST #16291513 v4                              1
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24               Desc
                                  Main Document     Page 11 of 44



 1 Faith Purchaser of Debtor’s Assets operates legally providing case specific legal services tailored to the

 2 consumer’s needs. A model very different than the boiler plate legal services offered by LPG. Other

 3 similar bankruptcy cases including the pending bankruptcy and proposed sale in PGX Holdings, Inc.

 4 indicate that the offending conduct and policies and procedures employed by LPG that allegedly violated

 5 the Telemarketing Sales Rule, 16 C.F.R. Part 310 (TSR) and Telephone Consumer Protection Act, 47

 6 U.S.C. § 227 (TCPA) among potential others can be cured. Notably in this regard, UST did not object to

 7 the sale of PGX Holdings, Inc.’s assets related to continued violations of the TSR after the violative

 8 conduct was cured. The Consumer Financial Protection Bureau (“CFPB”) has remained silent in this

 9 matter, not brought an adversary action or provided this Court with any evidence the alleged violations

10 cannot be cured, which in any event would appear to contradict the position taken to date in the PGX

11 Holdings, Inc. bankruptcy matter.

12           Based on the evidence and declarations filed herewith, and based on the Trustee’s business

13 judgment, the Trustee firmly believes the wellbeing and future of Debtor’s consumer clients are better

14 served by placing them with a law firm who not only is willing and able to provide actual legal services

15 they need, but also able to operate within the bounds of applicable law and permit further monitoring to

16 ensure compliance. Shuttering the Debtor and evading responsibility to consumer clients would place

17 thousands of consumers, including those who have active litigation pending against them, out on the street

18 today, which will cause more harm and place such clients at greater financial risk tomorrow. Based on the

19 evidence, argument and legal authority contained herein, Trustee respectfully requests the support of the

20 UST and that this Court approve the Sale Order.

21                                                      II.

22                                              JURISDICTION

23           The Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. sections 157 and

24 1334. This Motion is a core proceeding within the meaning of 28 U.S.C. section 57(b)(2).

25           Venue is proper pursuant to 28 U.S.C. sections 1408 and 1409.

26           The statutory bases for the relief requested herein are sections 105(a), 363, 365, 503 and 507 of

27 title 11 of the United States Code (the "Bankruptcy Code"), and Rules 2002, 6004, 6006, 9006, 9007 and
28 9014 of the Federal Rules of Bankruptcy Procedure.

     DMWEST #16291513 v4
                                                         2
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                   Main Document     Page 12 of 44



 1                                                      III.

 2                                 RELEVANT FACTUAL BACKGROUND

 3 A.        Procedural History
 4           On or about March 30, 2023 (the "Petition Date"), the Debtor filed a voluntary petition for relief

 5 under chapter 11 of title 11 of the United States Code, as amended, in the United States Bankruptcy Court

 6 of the Central District of California (the "Bankruptcy Court").

 7           After the Office of the United States Trustee (the “UST”) filed the Motion by United States Trustee

 8 to Dismiss or Convert Case Pursuant to 11 U.S.C. § 1112(b) [Bankr. Docket No. 21] and creditors Debt

 9 Validation Fund II, LLC; MC DVI Fund 1, LLC; and MC DVI Fund 2, LLC filed the Motion by DVF and

10 MC DVI to Dismiss Chapter 11 Case Pursuant to 11 U.S.C. §§ 105, 305, 349, & 1112, or in the Alternative

11 Convert This Case to Chapter 7 or Appoint a Trustee [Bankr. Docket No. 44], the Court entered the Order

12 Directing Unites States Trustee to Appoint Chapter 11 Trustee [Bankr. Docket No. 58] on May 4, 2023,

13 thereby granting the UST’s motion and directing the UST to appoint a Chapter 11 Trustee in the

14 Bankruptcy Case.

15           On May 8, 2023, the Trustee filed his Acceptance of Appointment as Chapter 11 Trustee [Bankr.

16 Docket No. 63], and the Court entered the Order Approving Appointment on the same date [Bankr. Docket

17 No. 65]. The Trustee has continued to serve since this date.

18           On May 25, 2023, the Trustee filed his Adversary Complaint initiating what is now Adversary

19 Proceeding 8:23-ap-01046-SC (“1046 Action”), Docket No. 1. Filed concurrently with Trustee’s

20 Adversary Complaint, the Trustee sought emergency omnibus relief seeking among other things, a

21 temporary restraining order for the turnover and preservation of critical operating information, client

22 information, accounts, ACH processing accounts, bank accounts and client funds. 1046 Action, Docket

23 Nos. 3-8. Exigent circumstances appearing, the Court issued a detailed ruling granting Trustee’s relief

24 with few exceptions or modification. On May 26, 2023, the Court issued the order on Trustee’s Emergency

25 Omnibus motion and set a status conference and preliminary injunction hearing for June 12, 2023. Bankr.

26 Docket No. 13 and 21 amended to correct an address contained therein.

27           As stated in greater detail in the Trustee’s Complaint filed in the 1046 Action and incorporated

28 by reference herein, the Debtor is a law firm that provided consumer debt resolution services. One aspect

     DMWEST #16291513 v4
                                                          3
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                  Main Document     Page 13 of 44



 1 of the services sought by Debtor’s consumer clients included being provided attorney services to handle

 2 pending litigation, whether on the defense or offensive side of the pleading, address creditors threating

 3 litigation and or debt collection agencies engaging in unfair debt collection practices pursuant to the Fair

 4 Debt Collection Practices Act (“FDCPA”), California’s Rosenthal Fair Debt Collection Practices Act

 5 (“Rosenthal Act”) among others. Declaration of R. Reed Pruyn (“Pruyn Decl.”) at ¶¶ 12-22; Declaration

 6 of Jason Rebhun (“Rebhun Decl.”) at ¶ 9-22 ; Declaration of Peter Schneider (“Schneider Decl.”) at ¶ 5;

 7 Declaration of Ty Carss (“Carss Decl.”) at ¶ 5-6. Functions that can only be handled by an attorney and

 8 whose services would otherwise not be affordable. Other services provided by Debtor, included settlement

 9 negotiations and debt invalidation strategies. Id.

10           Prior to June 12, 2023, the Trustee established an ad hoc Committee of Consumer Creditors who

11 was represented by Ira D. Karasch of Pachulski Stang Ziehl & Jones, LLP. On June 20, 2023, Trustee

12 filed an Emergency Motion for Order Authorizing the Chapter 11 Trustee to Enter an Expenses

13 Reimbursement Agreement with the Ad Hoc Committee. Bankr. Docket No. 102. On June 23, 2023, the

14 United States Trustee appointed a committee of unsecured creditors. Bankr. Docket No. 134. Pursuant to

15 stipulation between the Trustee and UST, on June 27, 2023, Trustee and UST sought and the Court ordered

16 the dismissal of Emergency Motion for Order Authorizing the Chapter 11 Trustee to Enter an Expenses

17 Reimbursement Agreement with the Ad Hoc Committee. Bankr. Docket No. 151.

18           On June 12, 2023, after an approximately 7 hour hearing and having heard and considered all the

19 evidence issued its ruling granting Trustee’s motion for preliminary injunction. Based on the Court’s

20 ruling, on June 16, 2023 Trustee lodged the proposed Preliminary Injunction Order with the Court. 1046

21 Action, Docket No. 65.

22           On June 15, 2023, the Trustee filed his Amended Complaint in the 1046 Action, primarily to

23 correct the spelling or entity designations of named defendants, remove the United States Postal Service

24 from the Complaint and add newly named defendants, including but not limited to, Heng Taing, Touzi

25 Capital, LLC, Payliance, Seamless Chex, Inc., Dwolla, Inc., Stripe, Inc. and Max Chou. 1046 Action,

26 Docket No. 62.

27           On June 20, 2023, Trustee filed his Emergency Motion for Post-Petition Financing. Bankr. Docket

28 No. 119. Trustee’s motion sought authority for $800,000 in financing in the aggregate, with an initial

     DMWEST #16291513 v4
                                                         4
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                  Main Document     Page 14 of 44



 1 advance of $350,000 in order to obtain the funds necessary to ensure consumers received legal services

 2 from attorneys who were in litigation, among other exigent grounds. Id. On June 22, 2023, this Court

 3 issued its Order granting the Trustee’s request for interim financing. Bankr. Docket No. 131. As detailed

 4 in the Declaration of the Trustee attached hereto, these funds are nearly exhausted.

 5           On June 23, 2023, the Court entered the Preliminary Injunction Order pursuant to the June 12,

 6 2023 hearing on same. 1046 Action, Docket No. 70.

 7           On June 27, 2023, the Trustee filed a Stipulation for Judgment (1) Avoiding, Recovering, and

 8 Preserving Transfers to Defendant, Phoenix Law, PC (erroneously sued as Phoenix Law Group, Inc.); (2)

 9 Turning Over of All Transferred Property to Trustee; and (3) Dismissing Without Prejudice Defendants

10 William Taylor Carss and Maria Eeya Tan (“Phoenix Judgment”). See 1046 Action, Docket No. 77. The

11 Phoenix Judgment establishes LPG fraudulently transferred client files to Phoenix pursuant to the

12 Adversary Complaint and Amended Adversary Complaint, provides for the turnover of said files in

13 accordance with the Court’s Emergency Order and subsequent Preliminary Injunction, and further

14 cooperation with the Trustee to protect consumer clients and creditors during the pendency of this matter.

15 Id. The Trustee also prepared and filed a 9019 Motion in the main case to obtain court approval of the

16 Phoenix Judgment. Bankr. Docket No. 176. This Motion is set for hearing on July 11, 2023.

17           On July 6, 2023, the Trustee filed a Motion to Approve a Stipulation Between the Debtor,

18 Consumer Legal Group, PC; LGS Holdco, LLC; and Set Forth, Inc f/k/a DebtPayPro (“Stipulation”)

19 pursuant to Bankruptcy Rule 9019. Bankr. Docket No. 128. If approved, the Stipulation will resolve a

20 portion of the Trustee’s dispute over the assignment of 12,546 client files for monetary consideration, will

21 not release any other claims against these defendants, and will provide extraordinary consumer protections

22 mirroring those in the proposed APA. Id. This Motion is set for hearing on July 11, 2023.

23 B.        LPG’S Fraudulent Transfer of Consumer Clients And Avoidance Thereof
24           According to testimony at the Debtor’s first meeting of creditors, LPG, at its height in 2022,

25 serviced more than 60,000 customers across the United States, with annual revenue estimated to total

26 $155,000,000 in 2022. Declaration of Richard Marshack (“Marshack Decl.”) at ¶ 5, Exh. 1 (Transcript)

27 at 82:18-24. Mr. Diab further conceded at a June 12, 2023 hearing in the 1046 Action that the Debtor filed
28 bankruptcy to avoid litigation, including the appointment of a receiver, with its creditors in State Court.

     DMWEST #16291513 v4
                                                         5
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                  Main Document     Page 15 of 44



 1 At Debtor’s 341(a) hearing in its Bankruptcy case, Mr. Diab admitted over 55,000 client files were

 2 transferred to alter ego and/or other non-alter ego entities, including but not limited to Phoenix Law, PC

 3 and Oakstone pre-petition. Marshack Decl. at ¶ 3, Exh. 1 (Transcript) at 54:18-24.

 4           Phoenix, Ty Carss and Maria Eeya Tan have stipulated to judgment on the Amended Adversary

 5 Complaint conceding LPG’s transfer of client files to Phoenix, is and was, avoidable transfers pursuant to

 6 11 U.S.C. §§ 544(b), 547, 548, 550, 551 of the Bankruptcy Code and California Civil Code §§ 3439.04(a)

 7 and 3439.07 more thoroughly detailed in the Stipulation for Judgment, 1046 Action, Docket No. 77. Thus,

 8 the transfers of these files are void and voidable and properly recoverable by the Estate.

 9 C.        Procedural Grounds Supporting Sale of Debtor’s Assets
10           The proposed form of the asset purchase agreement (“APA” between the Trustee and Good Faith

11 Purchaser is attached to Marshack Decl. at ¶ 6, Exh 2.

12           Of the more than 40,000 clients fraudulently transferred from LPG to Phoenix, only 21,457 clients

13 are active clients seeking services, based on recent data. Carss Decl. at ¶ 3, Exh. A. Out of the

14 approximated 22,000 active client files, over 5,000 are in active litigation and/or received legal services

15 from an attorney between June 2, 2023 and June 28, 2023, with more being threatened with litigation

16 requiring legal services from an attorney. Id. at Exh. B.

17           As detailed in the Amended Complaint and as the Trustee will admit, the Debtor’s pre-petition

18 financial management, operations and marketing created substantial issues and potential claims against

19 insiders and others to be pursued on behalf of all creditors. 1046 Action, Docket No. 62 at ¶¶ 50-61, 72-

20 73. That said, the past does not and cannot taint the future sale and assignment of legitimate consumer

21 clients who seek, need and receive valuable legal services related to consumer debt legal issues and

22 lawsuits. These services and advice only a licensed attorney can provide. See Declaration of R. Reed

23 Pruyn at ¶¶ 12-22; Schneider Decl. at ¶ 10; Carss Decl. at ¶¶ 5-7. When law abiding, barred attorneys

24 operating on principals of transparency as opposed to secrecy supply these services, the consumer client

25 can achieve their goals, emotional gratitude and a brighter financial future. See Declaration of R. Reed

26 Pruyn at ¶¶ 12-22; Schneider Decl. at ¶ 9; Carss Decl. at ¶¶ 6-7. This is especially true given the consumer

27 protections built into the APA and Sale Order by law and design, discussed below, including but not
28 limited to the required 90 day notice period pursuant to California Mode Rule 1.17(b)(1) to permit the

     DMWEST #16291513 v4
                                                         6
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                  Main Document     Page 16 of 44



 1 consumer clients the opportunity to make the decision for themselves as to whether they value the services

 2 to be provided or would prefer to opt out and be excluded from any assumption and assignment to the

 3 Good Faith Purchaser. See Sale Order concurrently filed herewith; Marshack Decl. at ¶ 5, Exh. 2 Proposed

 4 APA at Sections 2, 6, 11, and 12].

 5           The UST has been opposed to Trustee operating the Debtor. The UST has further opposed any use

 6 by Trustee of any funds recovered in this matter to fund post-petition operations. Marshack Delc. at ¶ 7.

 7 Trustee has not used any of the revenues. This, however, has created procedural and logistical issues in

 8 administering Debtor’s Estate, requiring immediate emergency relief in order to fulfill Trustee’s duties.

 9 In this regard, Trustee sought and this Court granted emergency interim financing from third parties that

10 do not encumber client funds or files in order to prevent irreparable harm to consumer clients and the

11 Estate during the interim. Bankr. Docket Nos. 119, 120, 131, and 169.

12           The Court approved financing will quickly run out. Marshack Decl. at ¶ 8. Without additional

13 funding, it is anticipated most, if not all, employees and/ or attorneys assisting the Estate during this

14 interim period will walk out effectively putting 22,000 clients out on the street and significantly impairing

15 Trustee’s ability to protect the interests of the consumer clients and Debtor’s Estate. Marshack Decl. at ¶

16 8, Exh. 3 (Budget). Trustee has investigated finding additional funding subject to Court approval, but

17 without the ability to repay any loan, this has proven difficult. Id. Exigent circumstances therefore exist

18 to approve Trustee’s proposed Sale for the protection of the consumer clients, Debtor’s estate and all

19 parties in interest. Id.

20           Further, the foregoing limitations prohibit the Trustee from undertaking the typical process to

21 market and sell the assets of a debtor in bankruptcy. However, marketing has occurred and the Trustee

22 and his attorneys have spoken with numerous potential purchasers. Marshack Decl. at ¶ 11. Further, the

23 Trustee has obtained two different proposals from other parties. One of which he has negotiated an asset

24 purchase agreement. That second asset purchase agreement is between the Estate and Morning Law.

25 Morning Law’s agreement is different from the APA that the Trustee has agreed to with the Good Faith

26 Purchaser. However, the Trustee does believe it might be an option that should be filed in the record and

27 will provide a copy to the Court by way of a supplemental declaration. Marshack Decl. at ¶ 7.
28

     DMWEST #16291513 v4
                                                         7
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                   Main Document     Page 17 of 44



 1           Given these facts, the Trustee can either seek conversion of the Case to Chapter 7 (which may be

 2 preferred by the UST), or seek Court approval of the Sale on an expedited basis to cure the alleged

 3 violations, reform the consumer contracts to comply with applicable law and to provide other protections

 4 to the consumer, and capture some of the value of the Assets. Given additional time and the ability to fund

 5 operations, a more fulsome sale process might have been a viable option. Interested buyers might have

 6 performed more thorough due diligence on the Assets. However, the circumstances of this matter do not

 7 afford for such luxuries and there is no evidence at this time a higher price than that proposed herein could

 8 be achieved. Therefore, in an effort to fulfill Trustee’s fiduciary duties and protect the consumer clients,

 9 the Trustee diligently sought and reached the proposed agreement with the Good Faith Purchaser to sell

10 the Assets, subject to overbid, pursuant to 11 U.S.C. § 363(b) free and clear of all liens, claims, and

11 encumbrances subject to the restrictions and consumer protections set forth in the APA. Marshack Decl.

12 at ¶ 6, Exh. 2.

13           Debtor’s consumer clients are entitled to receive the legal services they sought, contracted for and

14 in many instances require to combat lawsuits and unfair debt collection practices protected against under

15 the FDCPA and, Rosenthal Act, among others. The contracts are a valuable asset that can be assigned to

16 a law firm for the benefit of consumer clients who choose not to opt out of the Sale and assignment for

17 the benefit of the Estate, and all creditors, including consumer creditors. The Trustee maintains that a sale

18 of Debtor’s assets and the continuation of actual legal services provided to consumer clients including the

19 assignment of Debtor’s consumer contracts is in the best interest of all interested parties and those most

20 impacted by it, the consumer. Marshack Decl. at ¶¶ 9-12; Pruyn Decl. at ¶¶ 12-22; Carss Decl. at ¶¶ 6-7;

21 Schneider Decl. at ¶ 9-10.

22           In order to ensure consumer clients are afforded the utmost protection, Trustee has required any

23 potential buyer to evidence compliance with all applicable laws and agree to specific terms specifically

24 designed to cure any violations that occurred at LPG and to ensure continued compliance, including but

25 not limited to agreement to the following terms discussed more thoroughly below: 1) a ninety (90) day

26 opt out period pursuant to California Model Rule 1.17; 2) reformation of the legal services agreement to

27 provide additional protections to consumers; and 3) a Court appointed monitor. Sale Order; Marshack
28 Decl. at ¶ 6, Exh. 2.

     DMWEST #16291513 v4
                                                          8
     Case 8:23-bk-10571-SC            Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                        Desc
                                      Main Document     Page 18 of 44



 1                                                             IV.

 2          TRUSTEE MADE A REASONABLE GOOD FAITH EFFORT TO MAXIMIZE THE

 3         PROTECTIONS TO THE CONSUMER AND BENEFIT TO THE ESTATE AND ALL

 4                                                      CREDITORS

 5            Trustee has made significant efforts to maximize consumer protections while attempting to obtain

 6 the highest value for the Estate given the limitations as set forth above. To date, Trustee identified and

 7 negotiated two potential bids for the purchase of Debtor’s assets. The Trustee and his counsel spoke to

 8 other interested parties, whose proposals could not satisfy the conditions Trustee is requiring, but whom

 9 will be provided notice of this motion for purposes of overbid. The proposed Good Faith Purchaser’s offer

10 met consumer protection requirements required by the Trustee including that: 1) the purchaser be an

11 established law firm compliant with applicable laws; 2) provide an upfront payment to the Estate; and 3)

12 provide the required 90 day notice period to consumers that allows them to opt-out of the sale, and is

13 capable of operating during the 90 day notice period without the use of assigned consumer client ACH

14 payments. These same protections are what an Ombudsman or the FTC also require for a sale of consumer

15 files, unless it is to a qualified buyer2. Here, the buyer is qualified, as it is also a law firm with a similar

16 practice, and nevertheless it agrees to the additional consumer protections being required by the Trustee.

17 Thus, Trustee proposes to sell the Assets to the Good Faith Purchaser as set forth below.

18 A.        The Trustee’s Proposed Good Faith Purchaser - Consumer Legal Group, PC
19           The Good Faith Purchaser is a New York based firm with its primary place of business and law

20 office in the heart of the financial district of New York City. See Rebhun Decl. at ¶¶ 5-6. The Good Faith

21 Purchaser is owned by Aryeh Weber, Esq. who has over 30 years of experience and is licensed in both

22 New York and New Jersey and is in good standing. Id. at ¶ 6. The Good Faith Purchaser primarily provides

23 legal services in the consumer debt “space” discussed below, however, also offers legal services related

24 to civil and commercial litigation and real estate law. Id. at ¶ 5.

25           Jason Rebhun is one of the senior attorneys at the Good Faith Purchaser with 13 years of

26 experience who manages and oversees other attorneys and paralegals. See Rebhun Decl. at ¶¶ 3-5, 9-10.

27   2
       Report of Consumer Privacy Ombudsman, Alan Chapell at 27, In re General Motors Corp., et al, Case No. 09-50026 (2011),
     (“Debtor and New GM agree to provide consumers with an opportunity to opt out of being contacted by New GM for marketing
28   purposes and an opportunity to opt-out of having information transferred to another dealer.” )

     DMWEST #16291513 v4
                                                                9
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                   Main Document     Page 19 of 44



 1 The Good Faith Purchaser has three full time and three part-time staff attorneys and eight paralegals

 2 working in house on client matters. Id. at ¶ 7. Rebhun graduated from New York Law School in 2010

 3 taking classes at night while working as a paralegal during the day. Id. at ¶ 3. Over the course of the past

 4 13 years, Mr. Rebhun and others at the Good Faith Purchaser have worked on a number of consumer cases

 5 in the debt industry, including but not limited to collection cases involving secured and unsecured debt.

 6 Mr. Rebhun is one of the senior attorneys at the Good Faith Purchaser. Id. at ¶ 3-4. The Good Faith

 7 Purchaser has represented to the Trustee and as stated in the APA it has and will comply with all applicable

 8 laws related to providing consumer debt legal services. Id. at ¶ 20; Marshack Decl. at ¶ 6, Exh. 2. It does

 9 not engage in telemarketing. Id. at ¶ 19. It also does not engage in revenue factoring to pay for new clients.

10 Id. It also has not and does not sell or market credit repair services. Id. at ¶ 18.

11           All of the Good Faith Purchaser’s operational and legal functions are handled in house by trained

12 staff including attorneys, paralegals and other individuals who assist the legal team. Rebhun Decl. at ¶ 7.

13 Mr. Rebhun created, and edits as necessary, the Standard Operation Procedures for attorneys and

14 paralegals handling new files and is also the point of contact for complicated legal procedural issues and

15 strategical questions. Id. at ¶ 9-10.

16           The Good Faith Purchaser takes a case by case approach to providing legal services to its clients

17 depending on the facts and status of the case. Rebhun Decl. at ¶¶ 12-22. It does not have a cookie cutter

18 step by step process it uses across the board for all of its clients. Id. Instead, a strategic legal plan is

19 developed for each individual customer, which may include affirmative litigation for unfair debt collection

20 practices, debt validation that is part of prosecuting claims under the FDCPA, discovery, resolution efforts

21 and trial. Id. By way of example, oftentimes, the Good Faith Purchaser’s attorneys will review

22 documentation filed with a commencing pleading, or provided by the client, or in discovery, which is

23 matched and analyzed against the client’s credit report to see if that debt was “charged off” in which case

24 certain defenses/motion practice can be used to the clients benefit. Id. Attorneys at the Good Faith

25 Purchaser have uncovered cases wherein the relied upon contract and its terms and conditions provide

26 clients with a right to arbitrate lending such cases to potential resolution favorable to the client. Id. In

27 certain cases that were filed close to the applicable statute of limitations for collections actions (which
28 varies state by state which is researched by counsel), or where the amount demanded is relatively low, the

     DMWEST #16291513 v4
                                                          10
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                  Main Document     Page 20 of 44



 1 attorneys will engage, whether face to face, or telephonically. Id. An attorney from the Good Faith

 2 Purchaser and the client (and when applicable local counsel for the particular state) will strategize about

 3 seeking dismissal, including but not limited to, citing binding arbitration provisions in a contract, among

 4 other defenses. Id. In such situations, the Good Faith Purchaser has been able to obtain a dismissal and

 5 agreement by the creditor to discontinue their action. Id. Similarly, engaging in the discovery process and

 6 pursuing discovery, especially depositions of a creditor’s witness, have often created leverage for

 7 settlement negotiations. Id.

 8           Based on the foregoing, the Good Faith Purchaser has presented itself as a reputable law firm

 9 providing valuable legal services in compliance with applicable law. These services are far beyond the

10 “haphazard” services that LPG often provided to its clients. As a condition of purchase, the Good Faith

11 Purchaser has agreed to all consumer protections required by Trustee, discussed below. The proposed

12 purchaser has more than 30 years of experience in the area, will follow all consumer protections contained

13 in the proposed APA and has made the highest bid with upfront payments that Trustee has received to

14 date. Marshack Decl. at ¶ 12. Further the proposed APA and Sale cures any and all alleged violations and

15 concerns the UST and Court might have regarding consumer protection.

16                                                      V.

17                         THE PROPOSED SALE TO GOOD FAITH PURCHASER

18 A.        Summary of Proposed Asset Purchase Agreement (APA)3
19           The APA sets forth the terms of the Sale of the Assets to the Good Faith Purchaser, subject to

20 overbid,      free and clear of all liens, claims, encumbrances and other interests (except for those

21 "Reformation Provisions set forth in the Asset Purchase Agreement), pursuant to sections 105(a), 363,

22

23

24
     3
     Despite everyone’s best efforts and considerable amounts of time that have gone into this case thus far,
25 the Trustee simply has not had enough time to discuss the full terms of the APA with the OCC; despite
   having provided them with multiple versions of the APA, responding to questions via email, and having
26 a 1 hour 50 minute call with them on July 7, 2023 to answer further questions. In fact, negotiations for the
   APA attached hereto as Exh. 2 were just finalized at 6:00 p.m. on July 7, 2023, and this Motion was filed
27 as quickly thereafter as possible. The Trustee is committed to getting the OCC’s input and will work over
   the weekend with his attorneys to continue these discussions and will provide a supplemental declaration
28 with a revised APA if warranted.

     DMWEST #16291513 v4
                                                        11
     Case 8:23-bk-10571-SC            Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24               Desc
                                      Main Document     Page 21 of 44



 1 365, 503, 507 and 9014 of the Bankruptcy Code. The following is a summary of the key provisions of the

 2 Asset Purchase Agreement.4

 3

 4                APA Provision                                 Summary Description
         Seller                          Trustee/Estate
 5
         Good Faith Purchaser            Consumer Legal Group, PC
 6       Purchase Price                  Approximately, $42,000,000 subject to the terms of the APA, including
                                         but not limited to
 7       See APA § 2                          $1,000,000.00 First Deposit
                                              $7,000,000 Second Deposit
 8                                            20% fee collected by Buyer on Active Executory Contracts and
                                                 15% on Inactive Executory Contracts, up to the amount of the
 9                                               Total Purchase Price.
                                              $4,000,000 of the Purchase allocated from the Second Deposit
10                                               is without limitation in consideration for any and all Goodwill,
                                                 Licenses, Software Licenses and the proprietary Luna CRM.
11                                            Reversion: CLG is entitled to a $400.00 per contract reversion
                                                 for all client contracts whose consent is not received pursuant
12                                               to Rule 1.17 and the Sale Order in the event these contracts
                                                 exceed five percent (5%) of the total Assumed Contracts.
13

14       Deposit                               $1,000,000 at closing
                                               $7,000,000 within the later of (i) July 24, 2023, or (ii) 10 days
15       See APA §§ 2 and 8                     of entry of the Sale Order.
         Consumer Protections            Purchaser shall have complied with such Consumer Protections (as
16                                       defined in Section 12(m) and as may be modified by the Court, and
         See APA § 6(a) and as set       including consent in accordance with California Model Rule 1.17 and
17       forth below                     remedial measures, including the future performance requirements, as
                                         detailed in Section 12(j)).
18

19
         Reformation of the Legal        Purchaser shall obtain consent from consumer clients to the Modified
20       Services Agreement              Legal Services Agreement compliant with the TSR, TCPA, and CROA,
                                         among other laws, statutes, rules and regulations. The Modified Legal
21       See APA § 12(j)                 Services Agreement is attached to the Marshack Declaration as Exhibit
                                         4.
22
         Court Appointed Monitor         Pursuant to Court approval:
23                                           A Court appointed Monitor shall be for appointed for one (1)
         See APA §§ 2(b), 2.2, 2.3,             year from the date of closing;
24       11(b), 12(l)_-(m)                   Seller shall pay all expenses up to but not to exceed $100,000
                                                related to the monitor;
25

26   4
     The following summary of the Asset Purchase Agreement is provided for the convenience of the
   Bankruptcy Court and parties in interest. To the extent that there are any discrepancies between this
27 summary and the proposed APA, the terms and language of the proposed APA shall govern. Capitalized
   terms used but not otherwise defined in this summary shall have the meanings set forth in the proposed
28 APA, attached to the Marshack as Exhibit 2.

     DMWEST #16291513 v4
                                                           12
     Case 8:23-bk-10571-SC     Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                   Desc
                               Main Document     Page 22 of 44



 1
             APA Provision                                 Summary Description
 2                                       After Seller has paid expenses related to the Monitor totaling
                                          $100,000, further costs and expenses during the 1 year monitor
 3                                        period shall be paid by Purchaser, up to an additional $100,000;
                                         Monitor shall be authorized to hire one paralegal to assist with
 4                                        administering their duties under the APA. At the discretion of
                                          the monitor they may seek further instruction and clarification
 5                                        of their duties from the Court.
 6    Notice and 90 Day Opt Out   Consumer Clients shall be given:
      Period                          90 day notice pursuant to California Model Rule 1.17 or as
 7                                      ordered by this Court;
      See APA § 2.1                   Provided an opportunity to object, opt out or be excluded from
 8                                      the sale and assumption and assignment during the notice
                                        period or thereafter if no response is received.
 9    Purchased Assets            Consist of all of Seller's and the Estate's right, title, and interest in and
                                  to the following property as defined in the APA as is, without warranty,
10    See APA § 1(a)(1)-(10)      in present condition, including:
                                       personal property leases specifically identified by Good Faith
11                                         Purchaser;
                                       Equipment and furniture specifically identified by Good Faith
12                                         Purchaser;
                                       Consumer client accounts;
13                                     Prepayments;
                                       Legal Service Agreements, subject to reformation as discussed
14                                         herein;
                                       Intellectual property;
15                                     Pending licenses, authorizations and licenses; and
                                       Debtor’s proprietary CRM, Luna.
16
      Excluded Assets             Consists of:
17                                    Cash on hand or received by Seller prior to Closing Date;
      See APA § 1(b)(1)-(17)          Tax rebate or overpayments;
18                                    Insurance Proceeds and/or rights to and under any insurance
                                         policy;
19                                    Tax records and related information;
                                      Sellers claims and rights to prosecute the avoidance actions;
20                                    Real property leases not specifically identified in the APA;
                                      All executory contracts that are not assumed;
21                                    Personnel records and other records Seller is required by law to
                                         maintain;
22                                    All actions and causes of action arising in favor of Seller,
                                         including but not limited to those arising under Sections 544,
23                                       545, 546, 547, 548, 549, 550, and 553 of the Bankruptcy Code;
                                      All records, writing and other items protected by the attorney-
24                                       client privilege, the attorney work product doctrine or any other
                                         cognizable privilege or protection except to the extent
25                                       necessary, permitted, consented to, and/or authorized to
                                         effectuate the transfer;
26                                    All rights, claims, and/or avoidance actions with respect to or
                                         relating to any liens, claims, encumbrances or interests against,
27                                       in, with respect to or relating to the Property held by any person
                                         and including, without limitation, any claims relating to claims
28                                       or liens of Tony Diab, Rosa Bianca Loli, Lisa Cohen, Eng
                                         Taing, Heng Taing, and their affiliates.
     DMWEST #16291513 v4
                                                     13
     Case 8:23-bk-10571-SC      Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24               Desc
                                Main Document     Page 23 of 44



 1
      Seller Affirmations          None, except as to the following:
 2                                     Seller is not a “foreign person” within the meaning of Section
      See APA § 11                        1445 of the Internal Revenue Code of 1986;
 3                                     Subject to Court approval, Seller will fund the costs, fees, and
                                          expenses related to any court-appointed Monitor or committee
 4                                        for its services up to one hundred thousand dollars
                                          ($100,000.00);
 5                                     Seller’s onsite agent Lori Ensley of Bircher & Associates will
                                          provide a representation and warranty that – to the best of her
 6                                        knowledge – that the data provided to Purchaser has not been
                                          tampered with since June 2, 2023.
 7
      Representations and                 Purchaser is a professional corporation duly organized and
 8    Warranties of Purchaser              validly existing under the laws of New York and is in good
                                           standing in every jurisdiction in which the failure to be in good
 9    See APA § 12(a)-(t)                  standing may have a material adverse effect on Buyer, its
                                           business and/or assets;
10                                        Consummating the APA will not breach any provision of any
                                           contract or instrument to which Purchaser is a party;
11                                        Consummation of the APA in accordance with the Sale Order
                                           shall not require consent, approval or action of, or any filing
12                                         with or notice to, any Person or any public, governmental,
                                           judicial, or regulatory authority, other than the Bankruptcy
13                                         Court;
                                          Purchaser has sufficient financial resources, including, without
14                                         limitation, the necessary liquid funds, to promptly pay the
                                           balance of the Purchase Price and to pay and perform the
15                                         Assumed Contracts and the Assumed Liabilities as and when
                                           due;
16                                        There are no actions, suits, claims, investigations, hearings, or
                                           proceedings of any type pending (or, to the knowledge of
17                                         Buyer, threatened), at law or in equity, that might affect
                                           Buyer's ability to close the transactions contemplated hereby.
18                                        Purchaser has been provided a reasonable and fair opportunity
                                           to inspect and investigate the Property, which inspection will
19                                         occur on July 12 and July 13, 2023, sale thereof and terms of
                                           the APA with counsel;
20                                        All materials submitted to Seller in connection with Purchaser
                                           and the proposed APA, sale transaction are true and correct;
21                                        Purchase Price consists of amounts wholly independent, and
                                           free and clear, from the Property and therefore excludes any
22                                         and all consumer payments as a source of funds related to the
                                           Purchase Price;
23                                        Any subsequent amounts paid to Seller, including the Fee (as
                                           defined in the APA) from Purchaser or its transferee or
24                                         assignee, shall not derive from any proceeds resulting from the
                                           Assumed Contracts or related Property;
25                                        Purchaser represents and warrants that all LSA’s and the
                                           implementation thereof have been modified for compliance
26                                         with the Telephone Consumer Protection Act, 47 U.S.C. § 227
                                           (“TCPA”), the Telemarketing Sales Rule, 16 C.F.R. Part 310
27                                         (the “TSR”), and to the extent applicable, if ever, the Credit
                                           Repair Organizations Act, 15 U.S.C. § 1679 (the “CROA”)
28                                         prior to Closing;

     DMWEST #16291513 v4
                                                    14
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24               Desc
                                   Main Document     Page 24 of 44



 1                                            Purchaser represents and warrants that the performance of the
                                               Modified LSA’s will similarly comply with the TCPA, TSR,
 2                                             and to the extent applicable, if ever, the CROA;
                                              Purchaser represents and warrants that it will cooperate with
 3                                             the requests, oversight, and inquiries of the court-appointed
                                               Monitor or Committee, whose appointment shall be for a one
 4                                             (1) year term, unless extended by court order, as further
                                               provided in the Sale Order;
 5                                            Purchaser represents and warrants that it will cover the costs,
                                               fees, and expenses related to the court-appointed Monitor for
 6                                             its services after the Initial Coverage has expired, up to an
                                               additional $100,000, as further provided in the Sale Order;
 7                                            Purchaser will provide Seller with visibility into its ACH
                                               merchant processing account and Debt Pay Pro account for the
 8                                             purpose of facilitating the Monitor’s duties under the APA;
                                              Purchaser will maintain books and records sufficient to allow
 9                                             Seller to conduct an accounting for purposes of calculation of
                                               the Fee amount due under the APA;
10                                            Purchaser will, upon execution of Non-Disclosure Agreement
                                               and waiver of contingency, have the right to manage, operate,
11                                             and control key personnel of the Seller;
                                              Upon Closing, Purchaser shall have the right to transition
12                                             servicing of the Active and Inactive Executory Contracts to its
                                               own employees and attorneys;
13                                            At Purchaser’s expense, Seller shall cooperate with a special
                                               counsel motion for Purchaser’s lawyers to pursue claims for
14                                             interference with the Active or Inactive Executory Contracts;
                                               and
15                                            Purchaser represents and warrants that it will have no formal
                                               or informal business arrangements with Tony Diab during any
16                                             period in which a Fee is due to Seller under the APA.
17    Cure Amounts, Fees               Buyer will pay all cure amounts associated with the Assumed
      and Expenses                     Contracts.
18
      See APA § 1(b)(6) and 1(c)
19    Closing Date                     The first Business Day after occurrence of both
                                       (i) entry of the Sale Order; and
20    See APA § 4                      (ii) deposit and availability of funds from the Initial Deposit and
                                       Second Deposit; if the Court waives the 14-day stay set forth in
21                                     Bankruptcy Rule 6004(h).
22                                    If the Court does not waive the 14-day stay set forth in Bankruptcy Rule
                                      6004(h), then Closing will occur on the fifteenth (15th) day after the
23                                    entry in the Bankruptcy Case of the Sale Order, provided that both the
                                      Initial Deposit and Second Deposit have been made.
24

25 B.        Rejection and Termination of Employees
26           LPG currently only has two employees, who if they wish, will continue to work for any prospective

27 purchaser. The Trustee is not aware of any employment contracts between these employees and the
28 Debtor. However, if any exist, the Trustee hereby seeks to reject and terminate those employee contracts,

     DMWEST #16291513 v4
                                                        15
     Case 8:23-bk-10571-SC             Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                          Desc
                                       Main Document     Page 25 of 44



 1 so that they can be hired by the Good Faith Purchaser. Those individuals currently working to preserve

 2 the Debtor’s files are extremely valuable to its operations, but these individuals are employed by Phoenix

 3 Law.

 4 C.        Transfer to Legal Service Agreements
 5           The legal services agreements of the Debtor will be reformed and transferred to the Good Faith

 6 Purchaser. All consumer clients will receive notice of the reformation and transformation of their files and

 7 will have 90 days to opt out from the transfer of their file to the Good Faith Purchaser.

 8 D.        The 90 Day Notice Period Provides Consumers to Opt Out of Any Sale and Assignment
             Pursuant to California Model Rule 1.175.
 9
               The proposed APA provides for a 90 Day notice period pursuant to the relevant provisions of
10
     California Model Rule 1.17 “Sale of A Law Firm”, as determined by a finding that the Trustee is a “Person
11
     acting in a representative capacity” and subject to Rule 1.17(b)(1); or as ordered by the Court.
12
               California Mode Rule 1.17 provides, in relevant part:
13
             (b) If the sale contemplates the transfer of responsibility for work not yet completed or
14           responsibility for client files or information protected by Business and Professions Code
             section 6068, subdivision (e)(1), then;
15
             (1) if the seller is deceased, or has a conservator or other person acting in a representative
16           capacity, and no lawyer has been appointed to act for the seller pursuant to Business and
             Professions Code section 6180.5, then prior to the transfer;
17
             (i) the purchaser shall cause a written notice to be given to each client whose matter is
18           included in the sale, stating that the interest in the law practice is being transferred to the
             purchaser; that the client has the right to retain other counsel; that the client may take
19           possession of any client materials and property, as required by rule 1.16(e)(1); and that if
             no response is received to the notice within 90 days after it is sent, or if the client’s rights
20           would be prejudiced by a failure of the purchaser to act during that time, the purchaser may
             act on behalf of the client until otherwise notified by the client, and
21
             (ii) the purchaser shall obtain the written consent of the client. If reasonable efforts have
22           been made to locate the client and no response to the paragraph (b)(1)(i) notice is received
             within 90 days, consent shall be presumed until otherwise notified by the client.
23

24           Based on the foregoing notice procedure to consumer clients, as modified or ordered by this Court,
25 any and all consumer clients affected by the proposed Sale, would be provided notice of the Sale and a

26

27   5
       There was a recent ABA Formal Opinion (March 2023) that explains why the California Model Rule is applicable herein,
     stating “Model Rule 8.5 provides that when a lawyer’s conduct is in connection with a matter pending before a tribunal, the
28   lawyer must comply with the ethics rules of the jurisdiction in which the tribunal sits, unless otherwise provided.”

     DMWEST #16291513 v4
                                                                 16
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24               Desc
                                   Main Document     Page 26 of 44



 1 reasonable opportunity to: 1) seek the advice of an attorney; 2) object and opt out; or 3) provide consent

 2 and continue with the services provided by the Good Faith Purchaser subject to further consumer

 3 protections discussed herein. This is true whether they opt out or consent to the Sale and assignment with

 4 the 90 days or thereafter. Any concerns over consumer consent and protection is built in to the proposed

 5 Sale and client / attorney relationship thereafter.6

 6 E.        Reformation of Legal Services Agreement and Compliance with Consumer Protection
             Laws.
 7
             As noted above, all consumer customer contracts will be reformed before they are
 8
     assumed/acquired by the Good Faith Purchaser. These contracts will be reformed to (i) to comply with
 9
     applicable law; (ii) to require performance in accordance with applicable law; (iii) define earned fees in
10
     accordance with applicable laws; and (iv) permit consumer consent to the transfer of the contract to the
11
     Good Faith Purchaser and counsel in accordance with California Model Rule 1.17 . A copy of the proposed
12
     Modified Legal Services Agreement is attached to the Marshack Decl. as Exhibit 4. In particular, the
13
     proposed Modified Legal Services Agreement, clearly defines what services are to be provided and when
14
     fees for said services are earned consistent with applicable laws.
15
     F.      Trustee’s Proposed Court Appointed Monitor to Ensure Compliance with Consumer
16           Protection Laws.
17
               In addition to the foregoing protections built in to the proposed APA to ensure compliance with
18
     all applicable laws, the Trustee insisted on and has required that the Good Faith Purchaser agree to a one
19
     (1) year Court appointed monitor. The monitor provision requires the Good Faith Purchaser to cooperate
20
     with an Committee of Consumer Creditors and any other party appointed by the Court in order to provide
21
     transparency, compliance with protocols and monitoring including the ability to review the Good Faith
22
     Purchaser’s books and records, DebtPayPro and/or Luna CRM, conduct regular audits of the books and
23

24
     6
     At the discretion of the Court, and only as the Court deems necessary to approve the Sale Order, Trustee
25 proposes, in the alternative, that consumer client consent pursuant to Rule 1.17 be provided before any
   client contract is assumed and assigned. This procedure, however, may place the cart before the horse, as
26 many clients transferred to Phoenix are not active but may still need legal services of an attorney and
   whose contract may be assumed and assigned and properly retained by the Good Faith Purchaser under
27 the Modified Legal Services Agreement. As such, Trustee’s proposed alternative consent procedure may
   impact and ultimately reduce the value of the Sale to Debtor’s Estate and all creditors. As such, Trustee
28 maintains notice pursuant to Rule 1.17 be authorized.

     DMWEST #16291513 v4
                                                          17
     Case 8:23-bk-10571-SC          Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                   Desc
                                    Main Document     Page 27 of 44



 1 records, confirm the Good Faith Purchaser’s ongoing compliance with tax and other applicable consumer

 2 protection laws including but not limited to the TSR, TCPA and as applicable CROA.

 3           The Good Faith Purchaser would be subject to the monitoring provision for one year following the

 4 closing date. The first $100,000 in costs and expenses related to monitoring would be paid for by the

 5 Debtor thus removing any bias and/or potential conflict with the monitor’s fees being paid by the entity

 6 being monitored.

 7           Trustee proposes, subject to the Court’s approval, Nancy Rapport or in the alternative Matthew

 8 Bouslog as the Court appointed Monitor. A true and correct copy of their curriculum vitae is attached to

 9 the Marshack Decl. as Exhibits 5 and 6, respectively. Both are familiar with the consumer protections

10 issues specific to LPG and law firms providing legal services in the consumer debt “space”, including debt

11 validation, settlement, affirmative FDCPA claims and litigation.

12                                                         VI.

13    THE COURT SHOULD GRANT THE TRUSTEE’S SALE MOTION FOR THE BENEFIT OF

14                         THE CONSUMER CLIENTS, ESTATE AND CREDITORS

15 A.        The Court is Authorized to Issue an Order Approving the Sale of Debtor’s Assets and
             Procedures Related Thereto.
16
             The Bankruptcy Court is authorized to issue an order approving the proposed Sale of Debtor’s
17
     Assets, including the assignment of executory contracts and leases pursuant to 11 U.S.C. §§ 105 and
18
     363(b). See, e.g., In re Quintex Entertainment, Inc., 950 F.2d 1492, 1495 (9th Cir. 1991). The proposed
19
     Sale of the assets of a Debtor’s Estate, other than in the ordinary course of business, may be approved
20
     when: (i) there is a sound business reason for the sale; (ii) accurate and reasonable notice is provided to
21
     interested parties; (iii) the price is fair, reasonable and adequate; and (iv) the sale is made to the purchaser
22
     in good faith. See, e.g., In re Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991); In re Stroud
23
     Ford, Inc., 163 B.R. 730, 732 (Bankr. M.D. Pa. 1993); In re Titusville Country Club, 128 B.R. 396, 399
24
     (Bankr. W.D. Pa. 1991); In re Industrial Valley Refrigeration and Air Conditioning Supplies, Inc., 77 B.R.
25
     15, 21 (Bankr. E.D. Pa. 1987). Accordingly the proposed Sale should be authorized pursuant to section
26
     363 of the Bankruptcy Code, where, as here, there is a sound business purpose supported by a reasoned
27
     and “articulated business judgment” justifying the transaction.
28

     DMWEST #16291513 v4
                                                           18
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                 Desc
                                   Main Document     Page 28 of 44



 1           Courts have made clear that a Trustee’s business judgment is entitled to substantial deference with

 2 respect to the decision and procedure for selling Debtor’s assets pursuant to 11 U.S.C. Section 363(b). See

 3 In re Alaska Fishing Adventure, LLC, 594 B.R. 883, 890 (Bankr. D. Alaska 2018) citing In re

 4 Psychrometric Sys., 367 B.R. 670, 674 (Bankr. D. Colo. 2007); In re Bakalis, 220 B.R. 525, 531-32

 5 (Bankr. E.D.N.Y. 1998); Institutional Creditors of Continental Air Lines, Inc. v. Continental Air Lines,

 6 Inc. (In re Continental Air Lines, Inc.), 780 F.2d 1223, 1226 (5th Cir. 1986); In re JL Building, LLC, 452

 7 B.R. 854, 859 (Bankr. D. Utah 2011). Any objection based on mere speculation as to future events,

 8 services or lack thereof, is insufficient to avoid the proposed Sale where the Trustee has articulated his

 9 business judgment. In re Alaska Fishing Adventure, LLC, supra, 594 B.R. at 890; Stephens Indus. Inc. v.

10 McClung, 789 F.2d 386, 390 (6th Cir. 1986); In re WBQ P'ship, 189 B.R. 97, 102 (Bankr. E.D. Va. 1995);

11 Walter v. Sunwest Bank (In re Walter), 83 B.R. 14, 19-20 (B.A.P. 9th Cir. 1988).

12           Courts have held the paramount goal in any proposed sale of property of the estate is to maximize

13 the proceeds received by the Estate. See In re Adams Res. Expl. Corp., No. 17-10866 (KG), 2017 WL

14 5484017, at *3 (Bankr. D. Del. Sept. 20, 2017) (“The relief requested in the Sale Motion . . . is a necessary

15 and appropriate step toward enabling the Debtor to maximize the value of its bankruptcy estate, and it is

16 in the best interests of the Debtor, its estate and its creditors.”); In re Mushroom Transp. Co., 382 F.3d

17 325, 339 (3d Cir. 2004) (debtor-in-possession “had a fiduciary duty to protect and maximize the estate’s

18 assets”); In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998) (“The purpose of procedural bidding

19 orders is to facilitate an open and fair public sale designed to maximize value for the estate.”); In re Food

20 Barn Stores, Inc., 107 F.3d 558, 564–65 (8th Cir. 1997) (in bankruptcy sales, “a primary objective of the

21 [Bankruptcy] Code [is] to enhance the value of the estate at hand”); Official Committee of Subordinated

22 Bondholders v. Integrated Resources, Inc. (Integrated Res.), 147 B.R. 650, 659 (S.D.N.Y. 1992) (“It is a

23 well-established principle of bankruptcy law that the objective of bankruptcy rules. . .with respect to such

24 sales is to obtain the highest price or greatest overall benefit possible for the estate.”) (internal citations

25 omitted). Concerns related to consumer clients subject to the proposed Sale, assumption and assignment

26 in this matter present an overarching goal of consumer protection, which may in ways conflict with the

27 goals set forth in the Bankruptcy code and duties of the Trustee. Most notably and in the Trustee’s view,
28 ///

     DMWEST #16291513 v4
                                                          19
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                  Desc
                                   Main Document     Page 29 of 44



 1 ensuring consumer protection must take precedence over all other procedures designed to maximize value

 2 to the Estate.

 3           Notwithstanding, Trustee in this matter has gone to great lengths to seek and evaluate multiple

 4 bidders able to comply with provisions designed to protect consumer clients and maximize the value to

 5 the Estate. Utilizing Trustee’s sound business judgment, he believes the proposed Sale, APA and terms

 6 therein provide the perfect balance of competing interests in providing extraordinary protections for the

 7 consumer client who actively seek and/or require legal services and maximizing the value to the Estate

 8 for the benefit of all creditors, including consumer creditors. Further, Trustee has provided a second

 9 negotiated asset purchase agreement with Morning Law, so all parties can review and evaluate the offers

10 the Trustee was provided.

11 B.        The Sale Should Be Approved To Protect the Interests of Consumer Clients Based on The
             Trustee’s Reasoned Business Judgment and Extraordinary Protections Built in to The
12           Proposed Sale of Debtor’s Assets and The Assignment of Executory Contracts.
13
             Section 363(b)(1) of the Bankruptcy Code provides that a debtor, “after notice and a hearing, may
14
     use, sell or lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C. §
15
     363(b)(1). A sale of the debtor’s assets should be authorized pursuant to section 363 of the Bankruptcy
16
     Code if a sound business purpose exists for the proposed transaction. See, e.g., In re Schipper, 933 F.2d
17
     513, 515 (7th Cir. 1991) (“Under Section 363, the debtor in possession can sell property of the estate . . .
18
     if he has an ‘articulated business justification’ . . . .”); see also In re Martin, 91 F.3d 389, 395 (3d. Cir.
19
     1996) (same); Comm. Of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070
20
     (2d Cir. 1983) (same); In re Telesphere Commc’s, Inc., 179 B.R. 544, 552 (Bankr. N.D. Ill. 1999) (same).
21
             Once the Trustee articulates a valid business justification, the business judgment rule “is a
22
     presumption that in making a business decision the directors of a corporation acted on an informed basis,
23
     in good faith, and in the honest belief that the action taken was in the best interests of the company.” In re
24
     S.N.A. Nut Co., 186 B.R. 98, 102 (Bankr. N.D. Ill 1995) (citations omitted); In re Filene's Basement, LLC,
25
     11-13511 (KJC), 2014 WL 1713416, at *12 (Bankr. D. Del. Apr. 29, 2014) (“If a valid business
26
     justification exists, then a strong presumption follows that the agreement at issue was negotiated in good
27
     faith and is in the best interests of the estate”) (citations omitted); In re Johns-Manville Corp., 60 B.R.
28
     612, 615–16 (Bankr. S.D.N.Y. 1986) (“a presumption of reasonableness attaches to a debtor’s
     DMWEST #16291513 v4
                                                          20
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                Desc
                                   Main Document     Page 30 of 44



 1 management decisions.”). Unlike many bankruptcy cases, however, this case is unique requiring a delicate

 2 balance between the Trustee’s duties to the Estate and consumer client protections. As discussed herein,

 3 Trustee’s believes, that the proposed sale strikes this balance such that the Court should approve the APA

 4 with the Good Faith Purchaser.

 5          1.       A Sound Business Purpose Exists for the Sale.

 6           As set forth above, the Trustee has a sound business justification for selling the Debtor’s assets.

 7 First and foremost, Trustee reasonably believes based on the evidence obtained to date: a) active consumer

 8 clients continuing to seek legal services related to their consumer debt will be significantly harmed, subject

 9 to further prey and/or illegal debt collection practices if the sale is not approved and LPG is wound down

10 Marshack Decl. at ¶ 13; Pruyn Decl. at ¶¶ 12-22; Carss Decl. at ¶¶ 6-7; Rebhun Decl. at ¶¶ 12-22;

11 Schneider Decl. at ¶ 9-10]; b) the offending Legal Services Contract and conduct by LPG can be reformed

12 and eliminated, as in the PGX Holdings, Inc. bankruptcy matter, discussed below; and c) consumer clients

13 can and will receive legitimate legal services from the Good Faith Purchaser who has operated legally

14 and has substantial experience in the consumer debt legal industry.

15           By way of example, in a similar pending bankruptcy case, In re PGX Holding, Inc. (In re PGX),

16 Case No. 23-10718-CTG (D. Del. 2023), the Consumer Finance Protection Bureau (CFPB) obtained a

17 pre-petition judgment against PGX Holding, Inc. based on violations of the TSR, similar to the UST’s

18 position in this matter as to LPG’s pre-petition operations and Legal Services Agreement. Id., Docket No.

19 12 at ¶ 9. PGX Holdings, Inc. brought a motion to sell its executory contracts in its opening papers. Id.,

20 Docket No. 66, In PGX, the UST only objected to debtor’s sale motion to the extent the sale motion sought

21 to provide a break up fee. Id., Docket No. 101. PGX changed its business model/practices pre-petition due

22 to the CFPB litigation brought against it, removed and cured the offending conduct, and now seeks to sell

23 a compliant business via Section 363. Id. at Docket No. 12 at ¶ 10. It would therefore be at odds with the

24 opposition in In re PGX for any party to speculate that LPG’s alleged violations cannot be cured by

25 Trustee’s proposed sale. To wit, Trustee has endeavored to structure the APA and proposed sale to Good

26 Faith Purchaser to cure any concerns and/or allegations based on LPG’s prior policies and procedures.

27 ///
28

     DMWEST #16291513 v4
                                                         21
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                  Desc
                                  Main Document     Page 31 of 44



 1           Second, the proposed sale to Good Faith Purchaser stands to provide significant assets to Debtor’s

 2 Estate for the benefit of all creditors, including pre-petition consumer clients entitled to a refund and post-

 3 petition consumer clients who have made a valid claim. In an effort to maximize the purchase price to the

 4 Estate, given the exigent circumstances and significant limitations imposed, the Trustee sought as many

 5 potential bidders he could on an expedited basis and with limited funds who: 1) had the capability to

 6 provide legal services: 2) handle the volume necessitated by the same; 3) had sufficient capital to fund the

 7 purchase and operate as required by the proposed APA; 4) would agree to extraordinary consumer

 8 protection provisions, including a monitor; and 5) had a history of providing legally compliant legal

 9 services to its clients. Out of two potential purchasers and relying on the UST’s concerns and statements

10 of this Court, Trustee believes Good Faith Purchaser achieves the proper balance between maximizing the

11 protections to Debtor’s consumer clients and the return to the Estate. Marshack Decl. at ¶¶ 9-13. Therefore,

12 the Trustee requests that the Court make a finding that the proposed sale of the assets is a proper exercise

13 of the Trustee’s business judgment and is rightly authorized.

14                   2.     Adequate and Reasonable Notice of the Sale Will Be Provided.

15           Notice of the Sale will be served in a manner that provides parties notice of the date, time and

16 location of the applicable Sale Hearing, the overbid procedures and deadlines, and the applicable deadline

17 to object. Further, notice of the Sale Order shall be provided to all consumer clients affected by the sale

18 pursuant to California Model Rule 1.17, or as modified or ordered by this Court, including a detail of their

19 obligations and right to object and be excluded from any assumption and assignment by the Good Faith

20 Purchaser. As such, the Trustee requests a finding that the proposed notice procedures are both adequate

21 and reasonable and the sale is rightly authorized.
                 3.      The Sale Transaction and Purchase Price Reflects a Fair Value Transaction.
22

23           Section 363(b) does not require an auction procedure in order for the purchase price to reflect a

24 fair value transaction. Bank of Am. Nat’l Trust & Sav. Ass’n. v. 203 N. LaSalle St. P’ship, 526 U.S. 434,

25 457 (1999); see also In re Trans World Airlines, Inc., No. 01-00056, 2001 WL 1820326, *4 (Bankr. D.

26 Del. 2001). Regardless, the sale is subject to overbid and any interested party will have the ability to

27 become a qualified bidder. But, the circumstances in this case require a quick sale as the Estate is set to
28 run out of funds as stated in the Trustee’s Declaration and accompanying budget. Marshack Decl. at ¶8,

     DMWEST #16291513 v4
                                                         22
     Case 8:23-bk-10571-SC          Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                    Desc
                                    Main Document     Page 32 of 44



 1 Exh. 4 (Budget). Notwithstanding, the Trustee believes in his business judgment and based on the

 2 evidence, the purchase price offered by the Good Faith Purchaser is fair market value for the Assets given

 3 the state of the Debtor’s affairs and inability to fund operations while waiting for a higher offer.

 4 Furthermore, the Good Faith Purchaser has also agreed to follow applicable law with respect to the

 5 consumer client contracts and submit to one year of oversight overseen by this Court.

 6                   4.      The Sale Transaction Has Been Proposed in Good Faith and Without
                             Collusion, and is in “Good Faith”.
 7

 8           The Trustee request that the Court find the Good Faith Purchaser is entitled to the benefits and

 9 protections provided by section 363(m) of the Bankruptcy Code based on the Declarations filed herein in

10 lieu of testimony. Furthermore, the Trustee and a representative from the Good Faith Purchaser will attend

11 the hearing on the Sale Motion so there can be additional proffers and testimony, if needed, to support a

12 finding of good faith.

13           Section 363(m) of the Bankruptcy Code provides in pertinent part:

14
             [t]he reversal or modification on appeal of an authorization under subsection (b) or (c) of
15           this section of a sale or lease or property does not affect the validity of a sale or lease under
             such authorization to an entity that purchased or leased such property in good faith, whether
16
             or not such entity knew of the pendency of the appeal, unless such authorization and such
17           sale or lease were stayed pending appeal.

18 11 U.S.C. § 363(m) .

19           Section 363(m) of the Bankruptcy Code thus protects the purchaser of assets sold pursuant to

20 section 363 of the Bankruptcy Code from the risk that it will lose its interest in the purchased assets if the

21 order allowing the sale is reversed on appeal, as long as such purchaser leased or purchased the assets in

22 “good faith.” While the Bankruptcy Code does not define “good faith,” courts have held that a purchaser

23 shows its good faith through the integrity of its conduct during the course of the sale proceedings, finding

24 that where there is a lack of such integrity, a good faith finding may not be made. See, e.g., In re Abbotts

25 Dairies of Pa., Inc., 788 F.2d 143 (3d Cir. 1986) (“Typically, the misconduct that would destroy a

26 [buyer’s] good faith status at a judicial sale involves fraud, collusion between the [proposed buyer] and

27 other bidders or the trustee, or an attempt to take grossly unfair advantage of other bidders.”); In the Matter
28

     DMWEST #16291513 v4
                                                            23
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                  Desc
                                   Main Document     Page 33 of 44



 1 of Andy Frain Servs., Inc., 798 F.2d 1113, 1125 (7th Cir. 1986) (same); In re Sasson Jeans, Inc., 90 B.R.

 2 608, 610 (S.D.N.Y. 1988) (same).

 3           As discussed above, the Trustee has proposed the Sale of Debtor’s Assets in good faith and in the

 4 best interest of consumer clients who require legal services, sought legal advice and absent the proposed

 5 Sale transaction stand to be thrown out on the street to fend for themselves, many of whom are faced with

 6 litigation and unable to afford a standard legal retainer. In such a state, the consumer clients stand to be

 7 further victims of prey to other wrongful debt relief companies who make false promises and operate in

 8 violation of the TSR, TCPA and/or CROA. Moreover, all of the consumer clients also stand to face unfair

 9 debt collection practices, lawsuits and other oppressive tactics employed in attempting to collect a debt.

10 In order to prevent consumer client from being presented with such an ill fate and to obtain substantial

11 funds for the benefit of the Estate, the Trustee believes in good faith the proposed Sale with built in

12 consumer protections designed to cure the violations alleged against LPG is in the best interest of the

13 consumer clients and the Debtor’s estate.

14           Both the Trustee and the Good Faith Purchaser have negotiated the terms of the proposed Sale and

15 APA at arm’s length and in good faith through their respective counsel. The Good Faith Purchaser was

16 not the only potential purchaser, however, it made a significant offer that met the stringent requirements

17 to ensure consumer protections required by the proposed APA. During the negotiations, the Good Faith

18 Purchaser cooperated with the Trustee in timely providing documentation and information necessary to

19 evaluate its qualifications, financial ability to fund the purchase price and compliance with applicable

20 laws. Moreover, the Good Faith Purchaser has not engaged in fraud, collusion or taken advantage of any

21 bidder throughout the process. As such, Trustee respectfully requests the Court make a finding that the

22 Sale has been proposed in good faith.

23                   5.     The Proposed Sale Should Be Approved “Free and Clear” Under Section
                            363(f).
24

25           Section 363(f) of the Bankruptcy Code permits a Trustee to sell property free and clear of another

26 party’s interest in the property if: (a) applicable non-bankruptcy law permits such a free and clear sale; (b)

27 the holder of the interest consents; (c) the interest is a lien and the sale price of the property exceeds the
28 value of all liens on the property; (d) the interest is the subject of a bona fide dispute; or (e) the holder of

     DMWEST #16291513 v4
                                                          24
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                            Desc
                                  Main Document     Page 34 of 44



 1 the interest could be compelled in a legal or equitable proceeding to accept a monetary satisfaction of its

 2 interest. See 11 U.S.C. § 363(f). The Debtor only listed 3 secured claims in its schedules. However, a

 3 search of UCC filings in California shows the following active Secured Creditors:

 4

 5                                                      Filing      Lapse                                     Claim Amount
             Creditor          UCC No.        Status                                     Scope
                                                        Date        Date                                        if Known
 6                                                                                                            Proof of Claim
                                                                                                              No. 44 in the
     OHP – LPG, LP AUSTIN,
 7   TX
                             U230005834326   ACTIVE    1/25/2023   1/25/2028   All Assets Filing              amount of at
                                                                                                              least
 8                                                                                                            $16,938,954.00


 9   C T CORPORATION
     SYSTEM, AS
                             U230006246724   ACTIVE    1/26/2023   1/26/2028   All Assets Filing
10   REPRESENTATIVE -
     GLENDALE, CA
11
                                                                               “All accounts of Debtor
     FIRST CORPORATE
12   SOLUTIONS, AS
                                                                               attached hereto as Exhibit
                             U230009059730   ACTIVE    2/2/2023    2/2/2028    A with all proceeds and all
     REPRESENTATIVE -
                                                                               rights associated with such
13   SACRAMENTO, CA
                                                                               accounts.”
                                                                               “$1,053,690.00 in
14                                                                             Litigation Practice Group
     PROOFPOSITIVE LLC -                                                       and associated Litigation
                             U230009725118   ACTIVE    2/9/2023    2/9/2028
15   SHERIDAN, WY                                                              Practice Group Affiliate
                                                                               customer accounts
16                                                                             receivables files.”
     MC DVI FUND 2 LLC,
     MC DVI FUND 2 LLC,
17   DEBT VALIDATION         U230009923531   ACTIVE    2/10/2023   2/10/2028   All Assets Filing
     FUND II LLC-
18   GLENVIEW, IL
                                                                               “Executed Accounts
19   VENTURE PARTNERS
                                                                               Receivables Purchase
                             U230016377733   ACTIVE    3/9/2023    3/9/2028    Agreements in the amount
     LLC- SHERIDAN, WY
20                                                                             of $15,959,308.55 Debt
                                                                               Enrolled”
                                                                                                              Proof of Claim
21                                                                                                            No. 89 filed in
     CITY CAPITAL NY         U230018278331   ACTIVE    3/16/2023   3/16/2028   All Assets Filing
                                                                                                              the amount of
22                                                                                                            $2,950,000
                                                                               “All accounts receivable,
23                                                                             receipts, instruments,
                                                                               contract rights and other
                                                                               rights to receive the
24                                                                             payment of money,
                                                                               patents, chattel paper,
25   MNS FUNDING LLC -
                             U210050823723   ACTIVE    5/28/2021   5/28/2026   licenses, leases and
     BROOKLYN, NY
                                                                               general intangibles,
26                                                                             whether now owned
                                                                               acquired or arising, and all
                                                                               of the debtor's books and
27                                                                             records relating to any of
                                                                               the foregoing.”
28

     DMWEST #16291513 v4
                                                         25
     Case 8:23-bk-10571-SC           Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                            Desc
                                     Main Document     Page 35 of 44



 1
                                                           Filing      Lapse                                     Claim Amount
             Creditor             UCC No.        Status                                     Scope
                                                           Date        Date                                        if Known
 2
     CT CORPORATION
                                U210050853928   ACTIVE    5/28/2021   5/28/2026   All Assets Filing
 3   SYSTEM) CORP.

 4   CORPORATION
     SERVICE COMPANY,
                                U210052792122   ACTIVE    6/4/2021    6/4/2026    All Assets Filing
 5   AS REPRESENTATIVE -
     SPRINGFIELD, IL
 6

 7
     C T CORPORATION
     SYSTEM, AS
 8   REPRESENTATIVE -
                                U210057670018   ACTIVE    6/17/2021   6/17/2026   All Assets Filing
     GLENDALE, CA
 9
                                                                                  “All accounts receivable,
10                                                                                receipts, instruments,
                                                                                  contract rights and other
11                                                                                rights to receive the
                                                                                  payment of money,
12   WORLD GLOBAL                                                                 patents, chattel paper,
     FUNDLLC -                  U210059750525   ACTIVE    6/24/2021   6/24/2026   licenses, leases and
     BROOKLYN, NY                                                                 general intangibles,
13                                                                                whether now owned
                                                                                  acquired or arising, and all
14                                                                                of the debtor's books and
                                                                                  records relating to any of
15                                                                                the foregoing.”`
     C T CORPORATION
16   SYSTEM, AS
     REPRESENTATIVE             U210062497027   ACTIVE    7/6/2021    7/6/2026    All Assets Filing
     [unknown as to who they
17   represent]

18   BMF ADVANCE -
                                U210090322021   ACTIVE    10/4/2021   10/4/2026   All Assets Filing
     BROOKLYN, NY
19                                                                                “All accounts receivable,
                                                                                  receipts, instruments,
20                                                                                contract rights and other
                                                                                  rights to receive the
21                                                                                payment of money,
                                                                                                                 Debtor
                                U210106788229                                     patents chattel paper,
                                                                                                                 Scheduled at
     DIVERSE CAPITAL                 and        ACTIVE    12/1/2021   12/1/2026   licenses, leases and
22                              U210085288536                                     general intangibles,
                                                                                                                 $1,224,810.00
                                                                                                                 on Schedule D
                                                                                  whether now owned
23                                                                                acquired or arising, and all
                                                                                  of debtor's books and
24                                                                                records relating to any of
                                                                                  the foregoing.”
25
     Fundura Capital Group 80
26   Broad Street, Suite 3303                                                                                    Debtor
     New York, NY 10004                                                                                          Scheduled at
27                                                                                                               $2,100,000.00
                                                                                                                 on Schedule D
28

     DMWEST #16291513 v4
                                                            26
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                   Desc
                                   Main Document     Page 36 of 44



 1           Section 363(f) of the Bankruptcy Code is drafted in the disjunctive.

 2           Thus, satisfaction of any of the requirements enumerated therein will suffice to warrant the

 3 Debtors’ sale of the assets free and clear of all interests (i.e., all liens, claims, rights, interests, pledges,

 4 obligations, restrictions, limitations, charges, or encumbrances), except with respect to any interests that

 5 may constitute an assumed liability under the applicable purchase agreement. See In re Kellstrom Indus.,

 6 Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002) (“[I]f any of the five conditions are met, the debtor has the

 7 authority to conduct the sale free and clear of all liens.”). Section 363(f) states:

 8           The trustee may sell property under subsection (b) or (c) of this section free and clear of any
             interest in such property of an entity other than the estate, only if—
 9
             (1) applicable nonbankruptcy law permits sale of such property free and clear of such interest;
10           (2) such entity consents;
             (3) such interest is a lien and the price at which such property is to be sold is greater than the
11           aggregate value of all liens on such property;
             (4) such interest is in bona fide dispute; or
12           (5) such entity could be compelled, in a legal or equitable proceeding, to accept a money
             satisfaction of such interest.
13
             Trustee submits that the claims of the creditors on the list above are in bona fide dispute. The first
14
     seven creditors listed recorded their interests within the preference period and these filings may be subject
15
     to avoidance. All of the purported secured creditors assert liens which the Trustee disputes for various
16
     reasons including settlement of liens, fraudulent conveyance, assignment of liens, and multiple agreements
17
     and UCC-1s for identical debts. Because many filings were only done in the name of a generic agent, the
18
     Trustee cannot identify what liens may have been satisfied or be duplicative without an investigation.
19
             Further, to the extent any lien is valid, the secured claim will be adequately protected by its
20
     attachment to the net proceeds of the proposed Sale albeit subject to any claims and defenses the Trustee
21
     may possess with respect thereto, and/or any holder of the interest could be compelled in a Debtor’s
22
     bankruptcy proceeding to accept a monetary satisfaction of its interest. The Trustee accordingly request
23
     authority to convey the assets to the Good Faith Purchaser arising from the proposed Sale, if any, free and
24
     clear of all liens, claims, rights, interests, pledges, obligations, restrictions, limitations, charges, or
25
     encumbrances, with any such liens, claims, rights, interests, pledges, obligations, restrictions, limitations,
26
     charges, or encumbrances to attach to the proceeds of the proposed Sale.
27
28

     DMWEST #16291513 v4
                                                          27
     Case 8:23-bk-10571-SC        Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                 Desc
                                  Main Document     Page 37 of 44



 1 C.        The Assumption and Assignment of Executory Contracts Should Be Approved.

 2           As set forth above, the proposed Sale contemplates the assumption and assignment of executory

 3 contracts to the Good Faith Purchaser. Pursuant to section 365 of the Bankruptcy Code, a trustee, "subject

 4 to the court's approval, may assume or reject any executory contract or unexpired lease of the debtor." 11

 5 U.S.C. § 365(a). A trustee's decision to assume an executory contract or unexpired lease is subject to the

 6 "business judgment rule," meaning that a trustee's decision to assume an executory contract or unexpired

 7 lease should be approved by the Bankruptcy Court if the decision is supported by a sound business reason,

 8 with due deference to the trustee's business judgment. See In re Hertz, 536 B.R. 434, 442 (Bankr. C.D.

 9 Cal. 2015) ("The propriety of a decision to assume or reject an unexpired lease . . . normally is determined

10 under the deferential 'business judgment' test."); NLRB v. Bildisco, 465 U.S. 513, 524 (1984); Orion

11 Pictures v. Showtime Networks Inc. (In re Orion Pictures Corp.), 4 F.3d 1095, 1099 (2d Cir. 1993). A

12 trustee's decision to assume should be accepted, "except upon a finding of bad faith or gross abuse of [the

13 debtor's] business discretion." Lubrizol Enters. Inc. v. Richmond Metal Finishers, Inc. (In re Richmond

14 Metal Finishers, Inc.), 759 F.2d 1043, 1047 (4th Cir. 1985).

15           Here, the assignment and assumption procedure proposed in the APA and Sale Order are fair,

16 reasonable, compliant with California Model Rule 1.17 and designed to provide sufficient notice to

17 consumer clients regarding their rights to opt out during the 90 –day notice period after the sale See, e.g.,

18 In re Boy Scouts of Am., 642 BR 504, 569 (Bankr. D. Del. 2022) (“The lack of objection. . . is also

19 consensual for purposes of § 363 and, again, permissible under § 363(f)(2).”); In re Tabone, Inc., 175 B.R.

20 855, 858 (Bankr. D.N.J. 1994) (same); Pelican Homestead v. Wooten (In re Gabel), 61 B.R. 661, 667

21 (Bankr. W.D. La. 1985) (same). The assumption and assignment procedure complies with all applicable

22 laws and provides maximum protection to the consumer client to ensure all interested and/or affected

23 parties are provided sufficient notice and opportunity to be excluded from the proposed Sale Order and

24 APA. The assumption and assignment will further be reviewed by the Court and key constituents in the

25 Chapter 11 case. Accordingly, Trustee request the Court approve the proposed Sale including the

26 assumption and assignment of all executory contracts and leases in the APA and Sale Order in the best

27 interest of the consumer clients, the Estate and in the exercise of the Trustee’s business judgment.
28

     DMWEST #16291513 v4
                                                         28
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                 Desc
                                   Main Document     Page 38 of 44



 1 D.        Relief Under Bankruptcy Rules 6004(h) and 6006(d) Is Appropriate.

 2           Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease of property . .

 3 . is stayed until the expiration of fourteen days after the entry of the order, unless the court orders

 4 otherwise.” Additionally, Bankruptcy Rule 6006(d) provides that an “order authorizing the trustee to

 5 assign an executory contract or unexpired lease . . . is stayed until the expiration of fourteen days after the

 6 entry of the order, unless the court orders otherwise.” The Trustee request that the Sale Order be effective

 7 immediately upon its entry by providing that the fourteen-day stays under Bankruptcy Rules 6004(h) and

 8 6006(d) are waived.

 9           As discussed herein, Trustee secured third party financing to minimize the disruption to those

10 consumer clients needing legal services. These funds are quickly dissipating and will not cover the

11 necessary costs and expenses during the fourteen day stay period. See Marshack Decl. at ¶ 8. In order to

12 minimize any potential disruption to any consumer, the Trustee respectfully requests the Court waive the

13 fourteen day stay period under Bankruptcy Rules 6004(h) and 6006(d).

14                                                      VII.

15                                                CONCLUSION

16           While the Trustee wishes that the posture of this Case permitted a typical sale process, the

17 circumstances of this particular case does not permit that luxury. The proposed Sale will place the

18 consumer client with the Good Faith Purchaser who will be able to provide the legal services these

19 innocent parties sought, while allowing an opt-out period to obtain the clients consent to the sale. . The

20 proposed Sale will capture any value the Assets to be sold to the Good Faith Purchaser have at this time.

21 Further, the proposed Sale will also relieve the Estate of contractual and operating liabilities and will

22 provide assets for the benefit of all creditors. Finally, a sale will provide proceeds that will allow the

23 Trustee the funds necessary to pursue the bad actors in this case that put the consumers at risk in the first

24 place.

25           WHEREFORE, the Trustee respectfully requests that the Bankruptcy Court enter the Sale Order

26 approving, (a) the terms and conditions of the Asset Purchase Agreement; (b) approving the Sale and

27 assumption and assignment of the Assumed Contracts including the Notice pursuant to Rule 1.17; (c)
28 ///

     DMWEST #16291513 v4
                                                         29
     Case 8:23-bk-10571-SC         Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24               Desc
                                   Main Document     Page 39 of 44



 1 approving the sale free and clear of all liens; (d) waiving the 14 day stay; and (e) granting such other and

 2 further relief as is fair and equitable.

 3 Dated: July 7, 2023                            Respectfully submitted,
 4                                                DINSMORE & SHOHL LLP
 5
                                                  By: /s/ Christopher B. Ghio
 6                                                   Christopher B. Ghio
                                                     Christopher Celentino
 7                                                   Yosina M. Lissebeck
                                                     Jeremy Freedman
 8                                                   Special Counsel to Richard A. Marshack, Chapter 11
                                                     Trustee
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28

     DMWEST #16291513 v4
                                                        30
Case 8:23-bk-10571-SC                 Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                       Desc
                                      Main Document     Page 40 of 44


                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is:     655 W. Broadway, Suite 800, San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify):
NOTICE OF MOTION AND MOTION OF TRUSTEE RICHARD A. MARSHACK FOR ENTRY OF AN ORDER
(A) APPROVING SALE, SUBJECT TO OVERBID, OF ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
ENCUMBRANCES AND INTERESTS PURSUANT TO 11 U.S.C. § 363(b) AND (B) APPROVING
ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES
AND OTHER AGREEMENTS
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On July 7, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the
email addresses stated below:

                                                                                Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On July 7, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 7, 2023, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
than 24 hours after the document is filed.

                   JUDGE'S COPY
                   The Honorable Scott C. Clarkson
                   United States Bankruptcy Court
                   Central District of California
                   Ronald Reagan Federal Building and Courthouse
                   411 West Fourth Street, Suite 5130 / Courtroom 5C
                   Santa Ana, CA 92701-4593

                                                                                Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  July 7, 2023                 Caron Burke                                               /s/ Caron Burke
  Date                          Printed Name                                             Signature


     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

August 2010                           F 9013-3.1.PROOF.SERVICE
Case 8:23-bk-10571-SC                 Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                       Desc
                                      Main Document     Page 41 of 44


1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Eric Bensamochan on behalf of Interested Party Eric Bensamochan
eric@eblawfirm.us, G63723@notify.cincompass.com

Ronald K Brown on behalf of Creditor SDCO Tustin Executive Center, Inc.
ron@rkbrownlaw.com

Christopher Celentino on behalf of Plaintiff Richard A. Marshack
christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

Christopher Celentino on behalf of Trustee Richard A Marshack (TR)
christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

Shawn M Christianson on behalf of Interested Party Courtesy NEF
cmcintire@buchalter.com, schristianson@buchalter.com

Randall Baldwin Clark on behalf of Interested Party Randall Baldwin Clark
rbc@randallbclark.com

Leslie A Cohen on behalf of Interested Party Courtesy NEF
leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com

Daniel A Edelman on behalf of Creditor Carolyn Beech
dedelman@edcombs.com, courtecl@edcombs.com

Christopher Ghio on behalf of Plaintiff Richard A. Marshack
christopher.ghio@dinsmore.com

Christopher Ghio on behalf of Trustee Richard A Marshack (TR)
christopher.ghio@dinsmore.com

Jeffrey I Golden on behalf of Interested Party Courtesy NEF
jgolden@go2.law,
kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;gestrada@wgllp.com;golden.j
effreyi.b117954@notify.bestcase.com

Richard H Golubow on behalf of Creditor Debt Validation Fund II, LLC
rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow on behalf of Creditor MC DVI Fund 1, LLC
rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

D Edward Hays on behalf of Interested Party Courtesy NEF


     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                              F 9013-.1.PROOF.SERVICE
Case 8:23-bk-10571-SC                 Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                       Desc
                                      Main Document     Page 42 of 44



ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza
@ecf.courtdrive.com

D Edward Hays on behalf of Trustee Richard A Marshack (TR)
ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza
@ecf.courtdrive.com

Alan Craig Hochheiser on behalf of Creditor City Capital NY
ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com

Garrick A Hollander on behalf of Creditor Debt Validation Fund II, LLC
ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Garrick A Hollander on behalf of Creditor MC DVI Fund 1, LLC
ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Garrick A Hollander on behalf of Creditor MC DVI Fund 2, LLC
ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Joon M Khang on behalf of Debtor The Litigation Practice Group P.C.
joon@khanglaw.com

Ira David Kharasch on behalf of Interested Party Ad Hoc Consumer Claimants Committee
ikharasch@pszjlaw.com

Ira David Kharasch on behalf of Interested Party Courtesy NEF
ikharasch@pszjlaw.com

Nicholas A Koffroth on behalf of Creditor Committee Committee of Unsecured Creditors
nkoffroth@foxrothschild.com, khoang@foxrothschild.com

David S Kupetz on behalf of Defendant Marich Bein, LLC
David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

David S Kupetz on behalf of Interested Party Courtesy NEF
David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com

Christopher J Langley on behalf of Interested Party Courtesy NEF
chris@slclawoffice.com,
omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com

Daniel A Lev on behalf of Interested Party Courtesy NEF
daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

Michael D Lieberman on behalf of Creditor Phillip A. Greenblatt, PLLC
mlieberman@lipsonneilson.com
     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                              F 9013-.1.PROOF.SERVICE
Case 8:23-bk-10571-SC                 Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                       Desc
                                      Main Document     Page 43 of 44




Yosina M Lissebeck on behalf of Trustee Richard A Marshack (TR)
Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com

Richard A Marshack (TR)
pkraus@marshackhays.com, rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

Laila Masud on behalf of Interested Party Courtesy NEF
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Interested Party Richard A. Marshack
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Plaintiff Richard Marshack
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Laila Masud on behalf of Trustee Richard A Marshack (TR)
lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com

Kenneth Misken on behalf of U.S. Trustee United States Trustee (SA)
Kenneth.M.Misken@usdoj.gov

Byron Z Moldo on behalf of Interested Party Byron Moldo
bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com

Alan I Nahmias on behalf of Interested Party Courtesy NEF
anahmias@mbn.law, jdale@mbnlawyers.com

Victoria Newmark on behalf of Interested Party Courtesy NEF
vnewmark@pszjlaw.com

Queenie K Ng on behalf of U.S. Trustee United States Trustee (SA)
queenie.k.ng@usdoj.gov

Teri T Pham on behalf of Attorney Teri Pham
tpham@epglawyers.com, ttpassistant@epglawyers.com

Douglas A Plazak on behalf of Defendant Greyson Law Center PC
dplazak@rhlaw.com

Ronald N Richards on behalf of Defendant Consumer Legal Group, PC
ron@ronaldrichards.com, 7206828420@filings.docketbird.com

Ronald N Richards on behalf of Interested Party Courtesy NEF
ron@ronaldrichards.com, 7206828420@filings.docketbird.com

Gregory M Salvato on behalf of Interested Party Courtesy NEF

     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                              F 9013-.1.PROOF.SERVICE
Case 8:23-bk-10571-SC                 Doc 191 Filed 07/07/23 Entered 07/07/23 21:44:24                                       Desc
                                      Main Document     Page 44 of 44



gsalvato@salvatoboufadel.com,
calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com

Olivia Scott on behalf of Creditor Azzure Capital LLC
olivia.scott3@bclplaw.com

Olivia Scott on behalf of Creditor Hi Bar Capital LLC
olivia.scott3@bclplaw.com

Jonathan Serrano on behalf of Plaintiff Richard A. Marshack
jonathan.serrano@dinsmore.com

Jonathan Serrano on behalf of Trustee Richard A Marshack (TR)
jonathan.serrano@dinsmore.com

Paul R Shankman on behalf of Attorney Paul R. Shankman
PShankman@fortislaw.com, info@fortislaw.com

Paul R Shankman on behalf of Creditor United Partnerships, LLC
PShankman@fortislaw.com, info@fortislaw.com

Leslie Skorheim on behalf of U.S. Trustee United States Trustee (SA)
leslie.skorheim@usdoj.gov

Andrew Still on behalf of Interested Party Courtesy NEF
astill@swlaw.com, kcollins@swlaw.com

United States Trustee (SA)
ustpregion16.sa.ecf@usdoj.gov

Sharon Z. Weiss on behalf of Creditor Azzure Capital LLC
sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

Sharon Z. Weiss on behalf of Creditor Hi Bar Capital LLC
sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com

Johnny White on behalf of Interested Party Courtesy NEF
JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com




     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                              F 9013-.1.PROOF.SERVICE
